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                        Nos. 23-1083, 23-1084
__________________________________________________________________

           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT
__________________________________________________________________

                       SGCI HOLDINGS II LLC, TEGNA INC.,
                             AND CMG MEDIA CORP.

                                            Appellants/Petitioners,
                                      V.

                     FEDERAL COMMUNICATIONS COMMISSION

                                     Appellees/Respondents.
 __________________________________________________________________

                            MOTION OF
                AMERICAN TELEVISION ALLIANCE
           FOR LEAVE TO FILE BRIEF AS AMICUS CURIAE
 __________________________________________________________________


                                  Timothy J. Simeone
                                  Michael D. Nilsson
                                  Amy C. Robinson
                                  HWG LLP
                                  1919 M Street NW | Eighth Floor
                                  Washington, DC 20036
                                  (202) 730-1300
                                  tsimeone@hwglaw.com
                                  Counsel for American Television Alliance




      April 11, 2023
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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      Pursuant to D.C. Cir. Rule 28(a)(1), movant American Television Alliance

certifies as follows:

      A.     Parties and Amici

      Appellants/Petitioners: SGCI Holdings III LLC; TEGNA Inc.; CMG

Media Corporation

      Appellee/Respondent: Federal Communications Commission

      Intervenors: The NewsGuild-Communications Workers of America;

National Association of Broadcast Employees and Technicians-Communications

Workers of America; Common Cause; Office of Communication of the United

Church of Christ, Inc.

      Amicus: National Association of Broadcasters

      B.     Rulings Under Review

      References to the rulings at issue appear in the Notice of Appeal (20-1083)

and the Petition for Mandamus (20-1084).

      C.     Related Cases:

      There are no related cases other than the appeal and mandamus identified

above.




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                   RULE 26.1 DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit Rule 26.1,

movant American Television Alliance (“ATVA”) states that it is a non-profit

professional association—comprising cable, satellite, and telephone companies,

independent programmers, and consumer groups—formed primarily to advocate

on retransmission consent issues. It has no parent company and does not issue debt

or equity securities and accordingly there is no publicly held company holding ten

percent or more of its stock.




                                               /s/ Timothy J. Simeone
                                               Timothy J. Simeone
                                               Counsel of Record
                                               HWG LLP
                                               1919 M Street NW | Eighth
                                               Floor Washington, DC 20036
                                               (202) 730-1300
                                               tsimeone@hwglaw.com
                                               Counsel for American
                                               Television Alliance




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           MOTION FOR LEAVE TO FILE AS AMICUS CURIAE

      Amicus American Television Alliance (“ATVA”) is a non-profit

professional association—comprising cable, satellite, and telephone companies,

independent programmers, and consumer groups—formed primarily to advocate

on retransmission consent issues. ATVA advocates on behalf of its members

before the Federal Communications Commission (“Commission”) and in other

fora. Because the proceedings below directly affected ATVA’s members, it

participated actively in those proceedings. Indeed, the Media Bureau (the

“Bureau”) order challenged here, Consent to Transfer Control of Certain

Subsidiaries of TEGNA Inc. to SGCI Holdings III LLC, Hearing Designation

Order, DA 23-149, MB Docket No. 22-162 (MB rel. Feb. 24, 2023) (“Hearing

Order”), accorded substantial significance to materials placed on the record by

ATVA. ATVA therefore has a substantial interest in this Court’s review,

particularly with respect to Petitioners’ novel arguments about the Bureau’s

treatment of retransmission consent issues. ATVA submits that its perspective on

retransmission consent issues—the only issues on which ATVA participated

below—will aid the Court in resolving the questions presented.1


1
 ATVA sought consent from all parties to its filing of an amicus curiae brief, and
nearly all consented. Specifically, the Commission consented, as did Intervenors
NewsGuild-Communications Workers of America, National Association of
Broadcast Employees and Technicians-Communications Workers of America,
Common Cause, and the Office of Communication of the United Church of Christ,

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      Petitioners’ effort to obtain mandamus must fail because they cannot show

that the Commission had a “clear duty” to approve the applications without a

hearing on retransmission consent issues. Indeed, the writ is “reserved only for the

most transparent violations of a clear duty to act.” In re Core Commc’ns, Inc., 531

F.3d 849, 855 (D.C. Cir. 2008) (quoting In re Bluewater Network, 234 F.3d 1305,

1315 (D.C. Cir. 2000)). Applying that standard here, Petitioners would need to

demonstrate that it is crystal-clear that the Bureau’s reasons for invoking the

hearing process with respect to retransmission consent—rather than moving

directly to ruling on the application, as Petitioners claim the Commission had a

duty to do—were unlawful.

      Not only do Petitioners fall far short of that showing, but in fact the Bureau’s

analysis of the retransmission consent issues was entirely consistent with its

delegated authority, with the Commission’s past practice, and with applicable

appellate precedent. The Commission may properly consider potential

anticompetitive retail price increases in its public interest review. In FCC v.

National Citizens Committee for Broadcasting, for example, the Supreme Court

said that the Commission “is permitted to take antitrust policies into account in



Inc. Petitioners SGCI Holdings III LLC, TEGNA Inc., and CMG Media
Corporation stated that they take no position on ATVA’s request. Accordingly,
pursuant to Federal Rule of Appellate Procedure 29(a)(2) and Circuit Rule 29(b),
ATVA files this Motion for Leave to file an amicus curiae brief.

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making licensing decisions pursuant to the public-interest standard.” 436 U.S. 775,

795 (1978). This is what the Commission has done for decades. See, e.g.,

Applications for Consent to the Transfer of Control of Licenses XM Satellite Radio

Holdings Inc., Transferer to Sirius Satellite Radio Inc., Transferee, Memorandum

Opinion & Order and Report & Order, 23 FCC Rcd. 12,348, 12,352 ¶ 6 (2008)

(concluding that conditions were necessary since otherwise applicants “would have

the incentive and ability to raise prices for an extended period of time”). As

further set forth in ATVA’s brief, Petitioners have the law backward: It is not

arbitrary and capricious to consider such potential consumer price increases under

the “public interest” standard, but, at least in some circumstances, it might be

arbitrary and capricious to decline to do so. It likely would be so in this case,

where—as also set forth in our brief—the record so strongly supports the

challenged Hearing Order.

      In sum, ATVA’s proposed brief (attached hereto as an addendum) presents its

unique view—as also presented to the Bureau—on the Commission’s authority to

address anticompetitive consumer price increases as part of its “public interest”

review. ATVA’s brief also addresses the wealth of evidence in the record—much of

it supplied by ATVA and its member companies—supporting the Bureau’s decision

not to grant the Applicants without a hearing to resolve critical, unresolved issues




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of fact. ATVA respectfully submits that this brief will aid the Court in resolving the

issues at hand.

                                  CONCLUSION

      This Court should grant leave for ATVA to file the attached brief as amicus

curiae.

Dated: April 11, 2023                         Respectfully submitted,
                                              /s/ Timothy J. Simeone
                                              Timothy J. Simeone
                                              Michael D. Nilsson
                                              Amy C. Robinson
                                              HWG LLP
                                              1919 M Street NW | Eighth Floor
                                              Washington, DC 20036
                                              (202) 730-1300
                                              tsimeone@hwglaw.com
                                              Counsel for American Television
                                              Alliance




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                     CERTIFICATE OF COMPLIANCE
      This motion complies with the type-volume limitations of Federal Rule of

Appellate Procedure 32(a)(7)(B) because it contains 731 words, excluding the parts

of the brief exempted by Rule 32(f). This motion complies with the typeface

requirements of Rule 32(a)(5) and the type style requirements of Rule 32(a)(6)

because it has been prepared in a proportionally spaced typeface using Microsoft

Word 2010 in Times New Roman and 14-point font.




                                            /s/ Timothy J. Simeone
                                            Timothy J. Simeone
                                            HWG LLP
                                            1919 M Street NW | Eighth Floor
                                            Washington, DC 20036
                                            (202) 730-1300
                                            tsimeone@hwglaw.com


April 11, 2023
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                         CERTIFICATE OF SERVICE
      I hereby certify that on April 11, 2023, I caused copies of the Motion for

Leave to File Brief as Amicus Curiae to be served by the Court’s CM/ECF system,

which will send a notice of the filing to all registered CM/ECF users.




                                             /s/ Timothy J. Simeone
                                             Timothy J. Simeone
                                             HWG LLP
                                             1919 M Street NW | Eighth Floor
                                             Washington, DC 20036
                                             (202) 730-1300
                                             tsimeone@hwglaw.com



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                 Addendum
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                         Nos. 23-1083, 23-1084
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            IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT
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                      SGCI HOLDINGS II LLC, TEGNA INC.,
                            AND CMG MEDIA CORP.

                                          Appellants/Petitioners,
                                     V.

                     FEDERAL COMMUNICATIONS COMMISSION

                                     Appellees/Respondents.
 __________________________________________________________________

   BRIEF OF AMICUS CURIAE AMERICAN TELEVISION ALLIANCE
                   IN SUPPORT OF RESPONDENTS
 __________________________________________________________________


                                 Timothy J. Simeone
                                 Michael D. Nilsson
                                 Amy C. Robinson
                                 HWG LLP
                                 1919 M Street NW | Eighth Floor
                                 Washington, DC 20036
                                 (202) 730-1300
                                 tsimeone@hwglaw.com
                                 Counsel for American Television Alliance


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    CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

       Pursuant to D.C. Cir. Rule 28(a)(1), Amicus American Television Alliance

 certifies as follows:

       A.     Parties and Amici

       Appellants/Petitioners: SGCI Holdings III LLC; TEGNA Inc.; CMG

 Media Corporation

       Appellee/Respondent: Federal Communications Commission

       Intervenors: The NewsGuild-Communications Workers of America;

 National Association of Broadcast Employees and Technicians-Communications

 Workers of America; Common Cause; Office of Communication of the United

 Church of Christ, Inc.

       Amicus: National Association of Broadcasters

       B.     Rulings Under Review

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 and the Petition for Mandamus (20-1084).

       C.     Related Cases

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 above.




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                    RULE 26.1 DISCLOSURE STATEMENT

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 Amicus American Television Alliance (“ATVA”) states that it is a non-profit

 professional association—comprising cable, satellite, and telephone companies,

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 on retransmission consent issues. It has no parent company and does not issue debt

 or equity securities and accordingly there is no publicly held company holding ten

 percent or more of its stock.




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                               GLOSSARY

  Applicants                              Petitioners SGCI Holdings III LLC;
                                          TEGNA Inc.; and CMG Media
                                          Corporation
  ATVA                                    American Television Alliance
  Bureau                                  Media Bureau
  CMG                                     CMG Media Corporation
  FERC                                    Federal Energy Regulatory
                                          Commission
  FCC or Commission                       Federal Communications Commission
  NAB                                     National Association of Broadcasters




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                            INTEREST OF AMICUS1

 Amicus American Television Alliance (“ATVA”) is a non-profit professional

 association—comprising cable, satellite, and telephone companies, independent

 programmers, and consumer groups—formed primarily to advocate on

 retransmission consent issues. ATVA advocates on behalf of its members before

 the Federal Communications Commission (“FCC” or “Commission”) and in other

 fora. Because the proceedings below directly affected ATVA’s members, it

 participated actively in those proceedings. Indeed, the Media Bureau (the

 “Bureau”) order challenged here, Consent to Transfer Control of Certain

 Subsidiaries of TEGNA Inc. to SGCI Holdings III LLC, Hearing Designation

 Order, DA 23-149, MB Docket No. 22-162 (MB rel. Feb. 24, 2023) (“Hearing

 Order”), accorded substantial significance to materials placed on the record by

 ATVA. ATVA therefore has a substantial interest in this Court’s review,

 particularly with respect to Applicants’ novel arguments about the Bureau’s

 treatment of retransmission consent issues.




 1
   ATVA certifies that no party, party’s counsel, or person other than ATVA, its
 members, or counsel authored this brief in whole or in part, or contributed money
 intended to fund its preparation or submission.

                                          1
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                             STANDARD OF REVIEW

       “[T]he remedy of mandamus is a drastic one, to be invoked only in

 extraordinary situations.” Allied Chem. Corp. v. Daiflon, Inc., 449 U.S. 33, 34

 (1980) (citations omitted). A petitioner seeking mandamus bears the heavy burden

 of showing that “its right to issuance of the writ is ‘clear and indisputable.’”

 Gulfstream Aerospace Corp. v. Mayacamas Corp., 485 U.S. 271, 289 (1988)

 (quoting Bankers Life & Cas. Co. v. Holland, 346 U.S. 379, 384 (1953)). The

 petitioner must show: (1) it has a clear right to relief; (2) the agency has a clear

 duty to act; and (3) there is no other adequate remedy available to the party.

 N. States Power Co. v. U.S. Dep’t of Energy, 128 F.3d 754, 758 (D.C. Cir. 1997)

 (quoting Council of & for the Blind of Del. Cnty. Valley, Inc. v. Regan, 709 F.2d

 1521, 1533 (D.C. Cir. 1983)).

                                     ARGUMENT

       Amicus ATVA limits this brief to issues related to retransmission consent

 because those were the only issues as to which ATVA participated below.

 Applicants’ effort to obtain mandamus must fail because they cannot show that the

 Commission had a “clear duty” to approve or deny the applications without a

 hearing on retransmission consent issues. This Court recently described the

 relevant inquiry as “whether the agency has a crystal-clear legal duty to act.” In re

 Nat’l Nurses United, 47 F.4th 746, 752 (D.C. Cir. 2022) (emphasis added). The


                                            2
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 writ is “reserved only for the most transparent violations of a clear duty to act.”

 In re Core Commc’ns, Inc., 531 F.3d 849, 855 (D.C. Cir. 2008) (quoting In re

 Bluewater Network, 234 F.3d 1305, 1315 (D.C. Cir. 2000)); see also Cheney v. U.S.

 Dist. Ct. for D.C., 542 U.S. 367, 380 (2004) (even where a clear duty exists, the

 writ is a drastic remedy reserved for extraordinary circumstances).

       Applying that standard here, Applicants need to demonstrate that it is

 “crystal-clear” that the Bureau’s reasons for invoking the hearing process with

 respect to retransmission consent were unlawful. Not only do Applicants fall far

 short of that showing, but in fact the Bureau’s analysis of the retransmission

 consent issues presented here was entirely consistent with its delegated authority,

 with the Commission’s past practice, and with applicable appellate precedent.

 Moreover, contrary to Applicants’ arguments, the record in this proceeding strongly

 supports the challenged Hearing Order.

 I.    APPLICANTS HAVE NOT MET THEIR BURDEN TO SHOW THAT
       THE RIGHT TO ISSUANCE OF THE WRIT IS CLEAR AND
       INDISPUTABLE.

       A.     The Commission Lawfully Can, and Always Does, Consider
              Competition and Consumer Protection in Its Public Interest
              Review of Proposed License Transfers.

       ATVA focuses in this brief on one of the Bureau’s two primary justifications

 for designating the application for hearing. Specifically, the Bureau found that

 further factual investigation is required into “whether retransmission consent fees


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 will rise” if the Transactions were to be approved, given the Transactions’ “unique

 structure” designed to “take advantage of after-acquired station clauses and

 maximize retransmission revenue.” Hearing Order ¶ 16. Before this Court,

 Applicants claim that the “Commission lacks statutory authority to block a

 transaction on . . . grounds [of] . . . supposedly increased retransmission fees.”

 Conditional Pet. for Writ of Mandamus to the Federal Communications

 Commission 27 (“Pet.”). Applicants and their amicus maintain that this is simply

 not “an appropriate ‘public interest’ consideration in reviewing an application.”

 Pet. 28 (citations omitted); Corrected Br. of Amicus Curiae National Association of

 Broadcasters in Supp. of Pet’rs and Reversal or Mandamus 4-5 (“NAB Br.”)

 (whether the transaction would “impermissibly increase” rates was not “even

 colorably material to a proper public-interest inquiry”).

       That is incorrect. Applicable precedent makes clear that the Commission

 may properly consider potential anticompetitive retail price increases in its public

 interest review. In FCC v. National Citizens Committee for Broadcasting, for

 example, the Supreme Court said that the Commission “is permitted to take

 antitrust policies into account in making licensing decisions pursuant to the public-

 interest standard.” 436 U.S. 775, 795 (1978). Those policies include whether a

 “merger or other acquisition” may “create an appreciable danger of [higher prices]

 in the future.” Hosp. Corp. of Am. v. FTC, 807 F.2d 1381, 1389 (7th Cir. 1986).


                                            4
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 Indeed, in reviewing the Federal Energy Regulatory Commission’s (“FERC”)

 application of the essentially identical “public convenience and necessity” standard

 under Section 7 of the Natural Gas Act—where “antitrust concepts are [as here]

 intimately involved in a determination of what action is in the public interest,” Md.

 People’s Couns. v. FERC, 761 F.2d 780, 786 (D.C. Cir. 1985)—this Court found

 that FERC’s failure to consider the potential for higher prices for some consumers

 under the challenged order was unreasonable and required remand. Id. at 786-89;

 see also FTC v. Whole Foods Mkt., Inc., 548 F.3d 1028, 1037 (D.C. Cir. 2008)

 (remanding for further analysis of possible price increases for “targeted buyers” as

 a result of the proposed merger).

       For decades, the Commission has interpreted its public interest review under

 Section 309 to include protecting consumers from anticompetitive, transaction-

 related retail price increases. For example, in Applications for Consent to the

 Assignment and/or Transfer of Control of Licenses, the Commission imposed

 remedial conditions because “we find that the transactions . . . ultimately could

 increase retail prices for consumers . . . .” Memorandum Opinion & Order, 21

 FCC Rcd. 8203, 8256 ¶ 116 (2006). Similarly, in Applications for Consent to the

 Transfer of Control of Licenses XM Satellite Radio Holdings Inc., Transferer to

 Sirius Satellite Radio Inc., Transferee, the Commission found that voluntary

 commitments and other conditions were necessary in part because otherwise the


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 applicants there “would have the incentive and ability to raise prices for an

 extended period of time.” Memorandum Opinion & Order and Report & Order, 23

 FCC Rcd. 12,348, 12,352 ¶ 6 (2008). These Commission determinations went

 unchallenged in the courts, and were not even subject to reconsideration at the

 Commission on the issue relevant here. In short, the Hearing Order’s approach

 was a run-of-the-mill application of the Commission’s longstanding approach to

 public interest review.

          In the Hearing Order challenged here, the Bureau provided a well-reasoned

 explanation of the why higher retransmission consent fees caused by the

 Transactions would implicate the Commission’s duty to protect consumers from

 anticompetitive, transaction-related retail price increases. Specifically, the Bureau

 wrote:

          The Commission has recognized . . . that supra-competitive increases
          in retransmission consent fees can result in pressure for retail price
          increases for subscription video services to the detriment of consumers,
          and therefore, the public interest. As such, the Commission has been
          alert to the potential for public interest harms arising from
          retransmission consent rates, particularly in the context of transactions
          involving large broadcast television companies or [“multichannel video
          programming distributors”]. And, in previous transactions, the
          Commission has found that such increases and the resulting increased
          retail rates are not in the public interest.




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 Hearing Order ¶ 21 (footnotes omitted) (citing Commission cases). 2 Given this

 clear explanation, the Bureau’s focus on potential retail price increases resulting

 from supra-competitive retransmission rates in its public interest review under

 Section 309 certainly was not an arbitrary and capricious application of that

 standard. That is particularly true here because the Bureau emphasized that “any

 increase in retransmission fees” following the Transaction would not run afoul of

 the public interest if it were “the result of a properly functioning, competitive

 marketplace,” but would contravene the public interest if it resulted from the

 “unique structure of the Transactions.” Hearing Order ¶ 24.

       In sum, Applicants’ argument that the Bureau lacked statutory authority to

 order further factual inquiry into whether the Transaction might result in higher

 rates for consumers due to higher retransmission consent fees inconsistent with

 competitive market forces is wrong. Applicants have the law backward: It is not

 arbitrary and capricious to consider such potential consumer price increases under

 the “public interest” standard, but, at least in some circumstances, it might be

 arbitrary and capricious to decline to do so.




 2
        As the Bureau observed, ATVA and others explained on the record “that it is
 axiomatic that increased transmission fees will certainly be directly passed on to
 consumers.” Hearing Order ¶ 25. The Commission cases cited by the Bureau each
 stand for the proposition that price increases to consumers caused by a transaction
 constitute a public interest harm.
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       B.     On the Record Before It, the Bureau Properly Concluded That
              the Question of Whether the Transactions Could Result in Rate
              Increases Due to Higher Retransmission Consent Fees Requires
              Further Inquiry.

       As discussed above, Applicants’ argument that the Bureau lacked statutory

 authority to consider the potential for higher consumer prices resulting from the

 proposed Transactions is wrong. But Applicants and their amicus also argue that

 “no evidence was tendered” by the parties challenging the Transactions that could

 justify a hearing. Pet. 28; NAB Br. 8 (claiming that the Bureau “identified no

 evidence of anticompetitive wrongdoing here remotely justifying a hearing under

 Section 309(e)”). That argument is also incorrect.

       First, contrary to Applicants’ arguments, the record in this case was replete

 with evidence of potential anticompetitive conduct regarding retransmission

 consent fees requiring further investigation. For example, before the Bureau, both

 ATVA and its member Altice explained that the Applicants here appeared to be

 engaged in an “unprecedented array of sequenced transactions and swaps”

 intended to raise retransmission consent prices artificially. Specifically,

    • CMG had negotiated retransmission consent agreements with cable and
      satellite operators charging relatively high rates. Those agreements
      generally had “after-acquired station clauses” under which, if CMG bought a
      new station, that station would fall under the CMG agreement and be
      entitled to charge CMG rates.

    • CMG would sell Standard General a single station and assign its
      retransmission consent agreement along with the station.


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    • Standard General would use that single Standard General station as the
      vehicle to buy TEGNA’s sixty stations.

    • TEGNA’s stations would thereby artificially reset to the CMG agreement’s
      rates, potentially triggering a massive overall increase in retransmission
      consent fees for many cable and satellite companies —even though neither
      TEGNA nor Standard General (its new owner) negotiated the contractual
      provision used to inflate these fees.

    • This particular transaction structure also gave TEGNA and CMG knowledge
      of the expiration date of each other’s contracts, which would create
      additional leverage in future retransmission consent negotiations.

 Letter from Michael Nilsson to Marlene H. Dortch, MB Docket No. 22-162, at 4-5

 (filed Jan. 13, 2023) (Attachment A) (citation omitted); Letter from Cristina Chou

 to Marlene H. Dortch, MB Docket No. 22-162, at 1-3 (filed Oct. 20, 2022)

 (Attachment B); Hearing Order ¶¶ 25-32.

       ATVA member Altice argued that Applicants’ complicated, multi-step

 Transaction boiled down to Standard General “commandeer[ing]” CMG’s after-

 acquired station clause to raise prices of TEGNA’s stations. Attachment B at 1-3.

 And ATVA further argued that Applicants could not have orchestrated such

 commandeering without the unlawful and anticompetitive sharing of information

 beforehand, particularly since Applicants never provided any alternative

 explanation for the Transaction’s structure. See Attachment A at 4-5; Letter from

 Michael Nilsson to Marlene H. Dortch, MB Docket No. 22-162, at 2 (filed Dec. 2,

 2022) (Attachment C).


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       Notably, Applicants did offer commitments to address concerns relating to

 increased retransmission consent fees, including by waiving the after-acquired

 station clauses in at least some circumstances. ATVA and others, however,

 argued that these commitments were insufficient, as they failed to address

 enforcement and other important issues. See Attachment A at 2.

       After careful analysis, the Bureau concluded that “given questions about the

 intended scope” of Applicants’ proposed commitments, “we are unable to find that

 [they] would adequately mitigate” the potential for anticompetitive increases in

 consumer rates. Hearing Order ¶ 32. The Bureau therefore reasonably designated

 for hearing specific questions that would shed additional light on the agency’s

 concerns relating to after-acquired station clauses:

    • “[W]hether the sequencing of the Transactions was intended primarily to
      increase retransmission fees; . . .”
    • “[W]hether consummation of the Transactions will likely cause an increase
      in rates for the retail subscribers . . . ;”
    • “[W]hether the sequencing of the Transactions constitutes anticompetitive
      activity; . . .”
    • “[W]hat the extent of harm to viewers and the public interest would be as a
      result; . . .”
    • “[W]hether any such harm would be adequately mitigated by the
      commitments offered by the Applicants . . . ;” and
    • “[W]hether any of the Applicants violated any Commission rules or
      committed other wrongdoing in constructing the Transactions.”




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 Hearing Order ¶ 32. For mandamus to be appropriate, this Court would need to

 conclude that the record here provides no justification for any of these questions.

 But plainly it does.

       Applicants’ contrary claim that such designations may occur based only on

 allegations ‘“supported by affidavit’ by witnesses with ‘personal knowledge”’

 misses the point. Pet. 29 (quoting 47 U.S.C. § 309(d)(1)). The facts relevant to the

 Bureau’s concerns about retransmission consent fees and potential consumer price

 increases—including facts relating to the structure of the Transactions and the

 specific content of the relevant after-acquired station clauses—appear on the

 record and are undisputed. The Bureau’s primary concern was whether, given

 those undisputed facts, the Transactions “create an appreciable danger” of “higher

 prices in the affected market” in the future. Hosp. Corp., 807 F.2d at 1389. To

 answer that question, as the Hospital Corp. court said, a “predictive judgment,

 necessarily probabilistic and judgmental rather than demonstrable . . . is called

 for.” Id. The Bureau here reasonably concluded that such a judgment would be

 informed by further factual development at a hearing. See Bilingual Bicultural

 Coal. on Mass Media, Inc. v. FCC, 595 F.2d 621, 633 (D.C. Cir. 1978) (finding that

 the FCC abused its discretion in renewing a license because it had failed to hold a

 hearing and therefore had insufficient factual information to approve the license,

 and accordingly remanding for a hearing).


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        It also bears emphasis that the final issue designated for hearing by the

 Bureau—again, “whether any of the Applicants violated any Commission rules or

 committed other wrongdoing in constructing the transactions”—provides an

 independent basis for denying mandamus. Hearing Order ¶ 32. As noted above,

 before the Bureau, ATVA argued that the unique structure of the proposed

 Transactions had likely been informed by information sharing among the

 Applicants in violation of the Commission’s rules. See supra at 9. The Applicants

 denied that this was the case. Applicants’ Joint Reply Comments at 16-17, MB

 Docket No. 22-162 (filed Jan. 20, 2023) (Attachment D). Given this dispute, the

 Bureau understandably wished to obtain further information about whether the

 structure of the proposed Transactions involved rule violations or other

 wrongdoing. Like the Bureau’s apprehension about potential consumer price

 increases here, this concern relates to the facts underlying the highly unusual

 structure of these specific Transactions and is thus a particularly suitable subject

 for further factual development.

       C.     The Additional Arguments Regarding Retransmission Consent
              Made by Applicants’ Amicus are Meritless.

        In addition to the primary arguments addressed above, Amicus NAB

 presents a scattershot array of additional claims that merit little attention:

       1.     NAB appears to argue that the Bureau cannot consider retransmission

 consent in transaction review because Section 325 of the Communications Act

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 authorizes the Commission “only to promulgate regulations ensuring that the

 parties negotiate in good faith” over retransmission consent. NAB Br. 6. But the

 fact that Congress did not generally intend the Commission to regulate

 retransmission consent rates or conditions is irrelevant here. Congress also

 instructed the Commission to ensure that license transfers are in the public interest,

 and there is no exception to that instruction for issues involving retransmission

 consent. Here, as discussed above, the Bureau found that the Transactions raise

 questions about the public interest in connection with retransmission consent, and

 that a hearing would help to answer those questions.

       2.     NAB also appears to suggest—without saying why it is significant for

 this Court’s review—that the Hearing Order departed from the Commission’s prior

 treatment of retransmission consent issues, particularly in Applications of Tribune

 Media Company (Transferor) and Nexstar Media Group, Inc. (Transferee),

 Memorandum Opinion & Order, 34 FCC Rcd. 8436, 8462-63 ¶ 59 (2019)

 (“Nexstar”). Even if that were true, the proper remedy is of course to appeal the

 Bureau’s order to the full Commission, as Applicants have in fact done. Seeking

 review from this Court at this time is “incurably premature.” Order 1, Apr. 3,

 2023. But it is also worth noting that NAB is simply wrong. In Nexstar, the

 Commission found that an “increase in retransmission consent rates” is only a

 “public interest harm” where the increase is not the product of “competitive


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 marketplace considerations.” Nexstar ¶ 29 (citation omitted). We agree. But that

 is precisely the point here—the potential increases that the hearing is to investigate

 would result not from the operation of the competitive marketplace, but from

 complex machinations underlying the proposed Transactions.

       3.     NAB also suggests that the Bureau’s examination of consumer price

 increases was inadequate because it was “unadorned by any legal theory of

 competition, economic analysis, or discussion of the relevant markets.” NAB

 Br. 8. But the antitrust analysis that “informs” the Commission’s inquiry here

 contains no such requirement. To the contrary, “proof of actual detrimental

 effects”—like retail price increases—“can obviate the need for an inquiry into

 market power, which is but a ‘surrogate for detrimental effects.’” 3 FTC v. Ind.

 Fed’n of Dentists, 476 U.S. 447, 460-61 (1986) (quoting 7 P. Areeda, Antitrust Law

 ¶ 1511, at 429 (1986)); see also Horizontal Merger Guidelines § 2.2.1 (U.S. Dep’t

 of Just. & Fed. Trade Comm’n 2010) (“Explicit or implicit evidence that the

 merging parties intend to raise prices” is “highly informative in evaluating the

 likely effects of a merger.”).




 3
        Similarly, during post-consummation reviews, “[e]vidence of observed post-
 merger price increases . . . . can be dispositive,” absent evidence that the increases
 resulted from increased demand or other background non-merger forces.
 Horizontal Merger Guidelines § 2.1.1 (U.S. Dep’t of Just. & Fed. Trade Comm’n
 2010).

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                                 CONCLUSION

       For the foregoing reasons, this Court should deny the petition for mandamus.


                                             Respectfully submitted,

                                             /s/ Timothy J. Simeone
                                             Timothy J. Simeone
                                             Michael D. Nilsson
                                             Amy C. Robinson
                                             HWG LLP
                                             1919 M Street NW | Eighth Floor
                                             Washington, DC 20036
                                             (202) 730-1300
                                             tsimeone@hwglaw.com
                                             Counsel for American Television
                                             Alliance


 April 11, 2023




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                      CERTIFICATE OF COMPLIANCE

       This brief complies with the type-volume limitations of Federal Rule of

 Appellate Procedure 32(a)(7)(B) because it contains 3,154 words, excluding the

 parts of the brief exempted by Rule 32(f). This brief complies with the typeface

 requirements of Rule 32(a)(5) and the type style requirements of Rule 32(a)(6)

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 Word 2010 in Times New Roman and 14-point font.



                                             /s/ Timothy J. Simeone
                                             Timothy J. Simeone
                                             HWG LLP
                                             1919 M Street NW | Eighth Floor
                                             Washington, DC 20036
                                             (202) 730-1300
                                             tsimeone@hwglaw.com


 April 11, 2023
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                          CERTIFICATE OF SERVICE

       I hereby certify that on April 11, 2023, I caused copies of the foregoing

 Brief of Amicus Curiae American Television Alliance in Support of Respondents

 to be served by the Court’s CM/ECF system, which will send a notice of the filing

 to all registered CM/ECF users.




                                              /s/ Timothy J. Simeone
                                              Timothy J. Simeone
                                              HWG LLP
                                              1919 M Street NW | Eighth Floor
                                              Washington, DC 20036
                                              (202) 730-1300
                                              tsimeone@hwglaw.com

 April 11, 2023
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                                                                                               HWG LLP
                                                                                      1919 M STREET NW
                                                                                 WASHINGTON, DC 20036
                                                                    TEL: +1 202 730 1300 | HWGLAW.COM


                                                                                             Michael Nilsson
                                                                               direct dial: +1 202 730-1334
                                                                                     mnilsson@hwglaw.com


                                           January 13, 2023

 BY ELECTRONIC FILING

 Marlene H. Dortch
 Secretary
 Federal Communications Commission
 45 L Street NE
 Washington, DC 20554

        Re:     MB Docket No. 22-162 (TEGNA-Standard General)

 Dear Ms. Dortch:

        Applicants 1 recently submitted a series of letters seeking to address issues raised by
 opponents to and commenters on the TEGNA-Standard General transaction. The first sought to
 address issues related to the use of after-acquired and divested-station clauses. 2 The second
 sought to address issues related to jobs. 3 The third relates to information sharing and
 coordination. 4

        The American Television Alliance hereby responds to the Public Notice seeking
 comment on the proposed conditions with respect to coordination and after-acquired station
 clauses. 5 If such conditions are to have any hope of remedying the harm caused by intertwining
 Cox and TEGNA, they must be precise, extensive, clear, and easily enforceable.

       At the outset, we would encourage the Commission to codify all of Applicants’
 commitments as conditions, even though only Applicants’ letter regarding information sharing

 1
     Parties to the transaction include Standard General L.P., SGCI Holdings III LLC (collectively,
     “Standard General”), TEGNA, Inc., CMG Media Corporation, which is owned by Apollo Global
     Management, Inc. For convenience’s sake, we refer to all as “Applicants.”
 2
     Letter from Soohyung Kim to Marlene Dortch, MB Docket No. 22-162 (filed Dec. 16, 2022) (“SG
     After-Acquired Letter”).
 3
     Letter from Soohyung Kim to Marlene Dortch, MB Docket No. 22-162 (filed Dec. 22, 2022) (“SG
     Jobs Letter”).
 4
     Letter from Soohyung Kim et al. to Marlene Dortch, MB Docket No. 22-162 (filed Dec. 23, 2022)
     (“Applicants Coordination Letter”).
 5
     Public Notice, Media Bureau Seeks Comment on Letters Filed by SGCI Holdings II LLC and
     Standard General L.P. Regarding Applications to Transfer Control of TEGNA, Inc., DA No. 22-
     1368, MB Docket No. 22-162 (rel. Dec. 23, 2022).
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 and collusion specifies so. 6 This would include the other commitments Applicants have made
 throughout this proceeding, such as that “they will not engage in joint retransmission consent
 negotiations or coordination between post-closing TEGNA and CMG, Apollo or their respective
 affiliates, even where it would be legally permissible under the Commission’s rules.” 7

        Yet even if codified, Applicants’ proposed conditions as currently drafted do not fully
 address the harms caused by the proposed transaction. Below, we provide our concerns
 regarding, respectively, the proposed information sharing and after-acquired station conditions:

        Regarding Information Sharing:

            •    The proposed condition would prohibit information sharing regarding
                 retransmission consent among the parties and with respect to those involved in
                 retransmission consent negotiations. The Commission should either broadly
                 interpret who is “involved in retransmission consent negotiations” or, as we had
                 previously proposed, prohibit each Applicant from sharing any such information
                 with one another or with third parties.

            •    The Commission should impose enforcement and monitoring requirements, as we
                 have proposed.

        Regarding After-Acquired Station Clauses:

             •   The Commission should prevent the parties from evading the condition by
                 creating simultaneous expirations of their respective contracts.

             •   The Commission should prohibit future abuse of after-acquired station clauses
                 and information sharing related to due diligence.

             •   The Commission should ensure that all conditions apply to all entities affiliated
                 with Applicants.

        On December 2, we submitted to the Commission a proposed omnibus set of conditions
 based on an earlier consent decree agreed to between the Commission and Sinclair. 8 If helpful,


 6
     Compare Applicants’ Coordination Letter (stating that “Standard General, Apollo, and CMG propose
     the Commission incorporate [the commitments] into its Order in this proceeding”); with SG After-
     Acquired Letter and SG Jobs Letter (neither containing such language).
 7
     Applicants’ Coordination Letter at 2; see also Applicants’ Consolidated Opposition and Response to
     Comments, MB Docket No. 22-162, at 45 (filed July 7, 2022).
 8
      Letter from Michael Nilsson to Marlene Dortch, MB Docket No. 22-162 (filed Dec. 2, 2022)
     (“ATVA Conditions Letter”).
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 we would be happy to propose edits to either our proposal or Applicants’ proposal should the
 Commission so desire.

                                              *      *         *

 I.       Information Sharing and Coordination.

          A.      Scope of the Information Sharing Restriction.

         Applicants propose to restrict information sharing among themselves and with respect to
 individuals “that may be involved in retransmission consent negotiations.” 9 This language
 stems, in part, from language originally proposed by NCTA. 10

         We think this language needs further clarification. At a minimum, we believe that the
 phrase “may be involved in retransmission consent negotiations” must be interpreted broadly to
 have any practical effect. Imagine, for example, that a broadcast CEO or CFO learns
 confidential information about retransmission consent rates from another broadcaster—but is
 considered not to be “involved” in retransmission consent negotiations. She could then set
 targets or quotas for her retransmission consent negotiators, requiring them to insist on rates
 based on the rates she has learned. If the condition is to work, the CEO must be thought of as
 being “involved in” the retransmission consent negotiations, even if she never participates in a
 negotiation call. After all, the rates demanded of the counterparty often come from the CEO, not
 from the putative “negotiator.” We thus understand that Applicants’ CEOs, CFOs, and General
 Counsels, at a minimum, would be “involved in” retransmission consent agreements.

         Yet we continue to think that the better approach is that of the Sinclair consent decree—
 to prohibit Applicants from sharing retransmission consent information with any third parties
 (including one another), 11 regardless of whether the recipient is or is not involved in
 retransmission consent negotiations. 12 Our approach would address the root of the problem—
 preventing Applicants from engaging in future information sharing—rather than just a symptom
 or two. It would also eliminate interpretive questions about who is or isn’t “involved in
 retransmission consent negotiations.” And it would eliminate the possibility that Applicants
 could share information through third parties other than counsel or agents. 13


 9
      Applicants’ Coordination Letter at 2 (emphasis added).
 10
      Letter from Radhika Bhat to Marlene Dortch, MB Docket No. 22-162, at 4 (filed June 22, 2022).
 11
      For that matter, we do not understand why Applicants need to be sharing retransmission consent
      information with one another at all. They are presumably not, for example, conducting diligence on
      one another with respect to a potential purchase. Nor do we understand why such information sharing
      would be required for normal-course auditing.
 12
      ATVA Conditions Letter at 4.
 13
      Applicants’ Coordination Letter at 2.
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          B.      Enforcement and Reporting.

         Applicants seek to address the substance of concerns regarding information sharing and
 collusion through proposed conditions. These conditions, however, contain no enforcement or
 reporting provisions.

         The Commission, of course, has the inherent power to enforce its own conditions and to
 impose remedies for failure to comply. Our Member Companies’ recent experience with
 Sinclair, however, suggests that substantive conditions of the sort proposed by Applicants work
 best when accompanied by detailed enforcement and reporting provisions. This is why our
 December 2 letter contains a variety of such provisions, 14 which we suggest the Commission
 replicate here.

 II.      After-Acquired and Divested Station Clauses.

         After-acquired station clauses are often problematic. 15 As ATVA member Altice has
 explained, however, this transaction presents a special—and especially harmful—case. 16 Here,
 Cox, Standard General, and TEGNA have engaged in an “unprecedented array of sequenced
 transactions and swaps” 17 to enable Standard General to purchase TEGNA. As part of that larger
 transaction, Standard General has acquired a single Boston station from Cox and 97 stations
 from TEGNA. If Standard General were to use Cox’s Boston station to raise TEGNA’s prices,
 Standard General would benefit from a clause that it did not negotiate. It would, in other words,
 have commandeered Cox’s clause to benefit itself.

         Standard General proposes not to enforce Cox’s after-acquired station clauses entered
 into before the transaction’s close. 18 In other words, Standard General essentially seeks to
 remedy the effects of coordination that has already occurred among the parties. But the
 “unprecedented” structure of this transaction could not have happened without information
 sharing among the parties, including with respect to markets in which TEGNA and Cox overlap.
 The FCC rules, of course, prohibit such information sharing. 19

        Standard General’s proposed condition does not remedy all of the public interest harm
 caused by parties’ prior information sharing. Nor does it prevent the parties from engaging in
 14
       E.g., ATVA Conditions Letter at 4–8.
 15
       E.g., Letter from Ross Lieberman to William Lake, MB Docket No. 10-71, at 3 (filed July 24, 2015).
 16
       Letter from Cristina Chou to Marlene Dortch, MB Docket No. 22-162, at 1 (filed Oct. 20, 2022).
 17
       John Eggerton, Unions Try to Block TEGNA-Standard General Deal, Broadcasting and Cable (June
       22, 2022), https://www.nexttv.com/news/unions-try-to-block-tegna-standard-general-deal.
 18
       SG After-Acquired Letter.
 19
       In 2014, the Commission added a new per se category of bad-faith negotiation. Amendment of the
       Commission’s Rules Related to Retransmission Consent, 29 FCC Rcd. 3351, ¶ 2 (2014). This
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 similar activity in the future. And even on its own terms, the proposed condition requires at least
 some clarification.

          A.      Expiration of Cox and TEGNA Contracts.

        Standard General’s proposed condition does not fully address the substance of the issue
 we raised in our December 2 ex parte letter regarding the expiration of Cox’s and TEGNA’s
 contracts. Based on information sharing that occurred through the due diligence process among
 Applicants, TEGNA knows the termination date and the rates of Cox’s retransmission consent
 agreements. And Cox knows the termination date and the rates of TEGNA’s retransmission
 consent agreements. No condition can undo or waive this exchange of information.

         We have previously expressed concern that application of Cox’s contract to TEGNA
 carriage meant that, for each MVPD, Cox and TEGNA contracts would expire on the same day,
 creating considerable additional leverage for both parties. 20 If Standard General waives
 application of Cox’s after-acquired station clause, however, then the two sets of retransmission
 consent agreements would presumably not expire on the same day with respect to any MVPD.
 They would expire on their respective expiration dates.

         Yet the mere fact that the parties know the expiration dates of each other’s contracts
 creates a risk of future collusion when these contracts are up for renewal. Specifically, the party
 with the earlier-expiring contract could simply extend its deal to the date of the later-expiring
 contract. Although in theory both the distributor and the broadcaster must agree on any
 extension to an expiring contract, in reality, the broadcaster controls the extension timing as

      prohibited joint negotiation among non-commonly owned top-four rated stations in the same market.
      The 2014 rule defined “joint negotiation” as “[a]ny informal, formal, tacit or other agreement and/or
      conduct that signals or is designed to facilitate collusion regarding retransmission terms or
      agreements between or among Top Four broadcast television stations that are not commonly owned,
      operated, or controlled, and that serve the same DMA. This provision shall not be interpreted to apply
      to disclosures otherwise required by law or authorized under a Commission or judicial protective
      order.” Former 47 C.F.R. § 76.65(b)(1)(viii)(A)(3). Later in 2014, Congress codified the
      Commission’s joint negotiation rule, expanding it to include all same-market stations, not just top-
      four rated stations. STELA Reauthorization Act of 2014, Pub. L. No. 113-200, § 103, 128 Stat. 2059.
      The Commission described Congress’s language as “broader than, and thus supersed[ing], the
      Commission's [then-] existing prohibition.” Implementation of Sections 101, 103 and 105 of the
      STELA Reauthorization Act of 2014, 30 FCC Rcd. 2380, ¶ 4 (2015). It thus adopted Congress’s
      language almost verbatim, prohibiting “[c]oordination of negotiations or negotiation on a joint basis
      by two or more television broadcast stations in the same local market to grant retransmission consent
      to a multichannel video programming distributor, unless such stations are directly or indirectly under
      common de jure control permitted under the regulations of the Commission.” 47 C.F.R.
      § 76.65(b)(1)(viii). Since Congress's formulation was “broader” than the Commission’s earlier one, it
      was intended to include all component parts of the FCC's earlier formulation—including those about
      information sharing.
 20
      ATVA Conditions Letter at 2.
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 distributors will almost always want to extend and not risk a blackout for their subscribers and
 thus are at the mercy of the broadcaster to dictate extension terms and dates. Applicants could in
 this way recreate the leverage described in our December 2 ex parte letter notwithstanding
 Standard General’s proposed condition.

         Such conduct, in our view, would work only if the respective contracts expired relatively
 close to one another. We would thus amend our original proposal to provide that Cox or
 TEGNA must extend its agreement with any MVPD by six months upon the request of an
 MVPD.

         B.      Future After-Acquired Station Clauses.

         Standard General’s proposed condition would waive application of Cox’s existing after-
 acquired station clauses to TEGNA’s stations. It would not, however, prevent these parties from
 engaging in the very same behavior in the future. Standard General, TEGNA, and Cox
 presumably used the due diligence process in this transaction to share information about
 retransmission consent rates—including in markets where TEGNA and Cox overlap. This
 information sharing, in turn, enabled the parties to manipulate Cox’s after-acquired station
 clauses such that TEGNA could benefit from clauses negotiated by Cox. Without further
 conditions, both Standard General and Cox—entities that have already shown a willingness to
 use the due diligence process and such clauses to harm the public interest—remain free to raise
 prices in exactly the same way, using after-acquired station clauses that they did not negotiate.

         In addition to addressing the public-interest harm from this manipulation of after-
 acquired station clauses, we encourage the Commission to prevent Applicants from replicating
 such manipulation—either among themselves or with others. Thus, each of the Applicants
 should be prohibited from (1) enforcing any after-acquired station clause which it did not
 negotiate, where such enforcement would lead to higher rates; and (2) assigning or transferring
 control of stations unless the assignee or transferee agrees to waive enforcement of any
 transferred or assigned after-acquired station clause negotiated by the Applicant, where such
 enforcement would lead to higher rates. Furthermore, Applicants should be precluded from
 sharing any confidential information regarding retransmission consent rates they acquire through
 the due diligence process to each other or any other broadcaster.

         C.      Scope and Application of the Proposed Condition.

         Standard General’s proposal applies to Standard General L.P., SGCI Holdings III LLC,
 and Cox Media Group. 21 We take the proposed condition, however, as a broad assurance that no
 related party will ever seek to enforce any of Cox’s after-acquired station clauses, or otherwise
 seek to apply Cox’s rates to TEGNA stations. Thus, for example, when Standard General
 “voluntarily and irrevocably” waives enforcement of such clauses, so too will subsidiaries Teton
 Parent, Teton Midco, Teton Opco, TEGNA, individual Tegna Stations, etc.—as well as Apollo,

 21
      SG After-Acquired Letter.
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 Cox, and their various operating subsidiaries. 22 Likewise, if someone were to purchase TEGNA
 from Standard General, we assume the “irrevocable waiver” would still apply and that the
 purchaser could not undo Standard General’s commitment.

        We believe this is what Standard General means when it says that “the intent and effect
 of such waiver is to permit any [retransmission consent agreement] with TEGNA in effect as of
 the time immediately prior to the Closing to continue to apply to the TEGNA Stations as of and
 following the Closing.” 23 It would be helpful if the Commission confirmed this understanding.

                                             *       *       *

          Should you have any questions about this matter, please direct them to me.


                                                          Respectfully submitted,




                                                          Michael Nilsson
                                                          Counsel to the American Television Alliance




 22
      This, likewise, would apply to any information-sharing condition.
 23
      SG After-Acquired Letter.
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      Attachment B
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October 20, 2022


Ms. Marlene H. Dortch
Secretary
Federal Communications Commission
45 L Street, NE
Washington, DC 20554


        Re: Ex Parte Communication in MB Docket No. 22-162, Applications for Transfer of Control of
        TEGNA, Inc., to Standard General, L.P.


Dear Ms. Dortch:
On October 18, 2022, I held two meetings via videoconference with Commission staff. One was with
Adam Cassady, Commissioner Simington’s media advisor. The other was with Holly Saurer, Barbara
Kreisman, Robin Fagan, Jeremy Miller, Brendan Holland, Ty Bream, David Brown, and Sarah Whitesell
of the Media Bureau. Mike Nilsson of HWG LLP accompanied me at both meetings.
We discussed Altice’s concerns with the applicants’ use of after-acquired and divested-station clauses
to raise retransmission consent rates. We believe a distinction can be made between situations in
which a party that negotiated the clause benefits from it and situations, such as here, where a third-
party later “commandeers” such benefits for itself. Where a non-party uses an after-acquired or
divested-station clause it had no part in negotiating to raise consumer prices, the Commission can
consider this an anticompetitive practice leading to public interest harms—and can condition the
transaction appropriately.
                                                  *        *        *
1.      Consumer Price Increases are Recognized “Harms” in Transaction Review.
Beginning with first principles, consumer price increases rank among the foremost public interest
harms of concern to the Commission in transaction review. 1 And as ATVA has explained, there is no


1
        See, e.g., Adelphia Commc'ns Corp., Time Warner Cable Inc., and Comcast Corp., Memorandum Opinion and Order,
21 FCC Rcd. 8203, ¶ 116 (2006) (“[W]e find that the transactions may increase the likelihood of harm in markets in which
Comcast or Time Warner now hold, or may in the future hold, an ownership interest in RSNs, which ultimately could

                                                           1
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“retransmission consent exception” to this most basic aspect of transaction review.2 Of course, such
price increases must be caused by the merger—not by, for example, “a functioning retransmission
consent marketplace” 3—to constitute a public interest harm. 4 And such price increases must also be
passed along to consumers at least in part—and not merely “shift surplus” among commercial
parties—to constitute a public interest harm. 5
The Commission has never suggested that, where a transaction causes higher prices, one needs to find
some additional “market power” for harm to occur. Under bedrock antitrust law, which “informs” the
Commission’s analysis here, “’proof of actual detrimental effects . . .’ can obviate the need for an
inquiry into market power, which is but a ‘surrogate for detrimental effects.’” 6 The Department of
Justice’s Horizontal Merger Guidelines, for example, recognize that “[e]xplicit or implicit evidence that
the merging parties intend to raise prices” are “highly informative in evaluating the likely effects of a
merger.” 7 Indeed, all merger reviews seek to determine whether competitive alternatives are
sufficiently available to protect consumers from the harms of increased rates—and to deter such
increases from occurring in the first place. 8
2.      Third-Party Commandeering of After-Acquired Station Clauses Constitutes a Transaction-
        Specific Public Interest Harm.
MVPDs have previously argued that, where a transaction triggers after-acquired station clauses that
raise prices, this is a transaction specific harm. The Commission, however, has stated that:
        [A]fter-acquired station clauses were negotiated by the parties outside of this
        transaction, and there is no apparent reason to step in and deny one party the benefit
        of the negotiated bargain absent evidence of anticompetitive practices or other
        wrongdoing not apparent here. In addition, the Commission is not the proper forum for
        resolving an alleged private contractual dispute. 9
Yet here, the harmful action is within the transaction itself: the after-the-fact commandeering of an
after-acquired station clause by a party that did not negotiate it. Commission action therefore would
not unsettle any negotiated bargain. And there is “evidence of anticompetitive practices or other
wrongdoing”—the increased prices that will result in the marketplace from third-party commandeering
of the original bargain.


increase retail prices for consumers and limit consumer MVPD choice. We impose remedial conditions to mitigate these
potential harms.”) (emphasis added).
2
         Reply Comments of the American Television Alliance, MB Docket No. 22-162, at 2–4 (filed Aug. 1, 2022).
3
         Trib. Media Co. and Nexstar Media Grp., Inc., 34 FCC Rcd. 8436, ¶ 29 (2019).
4
         Id.
5
         For evidence that increases in wholesale retransmission consent fees leads to higher consumer prices, see
Comments of the American Television Alliance, MB Docket No. 18-349, at 15–18 (Sept. 2, 2021).
6
         FTC v. Indiana Fed’n of Dentists, 476 U.S. 447, 460–61 (1986).
7
         Horizontal Merger Guidelines § 2.2.1. Similarly, during post-consummation reviews, “[e]vidence of observed post-
merger price increases . . . can be dispositive,” absent evidence that the increases resulted from increased demand or other
background non-merger forces. Id. § 2.1.1.
8
         See id. §§ 5, 9; see also FTC v. Whole Foods, 548 F.3d 1028, 1044 (D.C. Cir. 2008).
9
         Trib. Media Co., supra note 3, ¶ 59.

                                                             2
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The usual application of an after-acquired station clause effectuates the bargain between the parties.
Cox, for example, negotiated after-acquired station clauses with Altice that would apply Cox rates to
stations Cox acquires. Suppose that Cox went out and bought a new station, and, pursuant to this
clause, started charging its own, higher rate to Altice for that station. One could say that, for Cox, this
is simply a benefit of the bargain it struck—and the Commission should not intervene in a “private
contractual dispute.”
That is not what is happening here. Here, Cox, Standard General, and TEGNA have engaged in an
“unprecedented series of swaps” to enable Standard General to purchase TEGNA. As part of that
larger transaction, Standard General has acquired a single Boston station from Cox and 97 stations
from TEGNA. If, as it appears, Standard General will apply the retransmission consent rates of the
single Cox station to all the TEGNA stations, Cox itself will not get to apply the after-acquired station
clauses it negotiated with MVPDs. Rather, Standard General has commandeered a clause it did not
negotiate in order to raise prices.
Where a third party commandeers an after-acquired station clause it did not negotiate to raise
consumer prices, that is a public interest harm. In such a case, the Commission has no interest in
preserving the benefit of the bargain between the negotiating parties. It would be implausible to
suggest that the parties had anything like the Byzantine transaction at issue here in mind during their
negotiations. Again, the benefit here is being commandeered by an outsider to those negotiations. 10
And the transaction directly causes harm: prices will increase because Standard General is
commandeering Cox’s contract with Altice to raise TEGNA prices.
This, moreover, is “anticompetitive activity” that undermines the entire retransmission consent
marketplace. If third parties can commandeer after-acquired station clauses in this manner, then the
retransmission consent market itself will no longer function. As we described in our reply comments,
acquirers can almost always find a higher-priced station somewhere with an after-acquired station
clause to use as a vehicle for their purchases. If this becomes the norm, retransmission consent prices
will no longer be the product of negotiations between individual station groups and the MVPDs that
carry their stations. They will instead be the product of the sort of hedge-fund engineering that we see
here.




10
         Nor does any concern exist about resolving a “private contractual dispute.” We do not ask the Commission to
opine on the meaning of the after-acquired station clause. Rather, the actions of a third party to commandeer such a
clause causes a public interest harm. Preventing such harm lies at the heart of the Commission’s transaction review
process.

                                                           3
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3.      The Commission Should Condition This Transaction to Prevent Consumer Harm.
We believe that, where a third-party commandeers an after-acquired station clause to raise consumer
prices, this constitutes a transaction-specific public interest harm. The Commission may therefore
consider this harm as it evaluates the transaction and may condition the transaction accordingly. In
this case, such a condition might say that Standard General and its affiliates may not seek to enforce
after-acquired or divested-station clauses entered into between Cox and MVPDs where such
enforcement would result in higher prices.


Respectfully submitted,


Cristina Chou
Vice President, Federal Affairs
Altice USA, Inc.
Cristina.chou@alticeusa.com




                                                   4
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      Attachment C
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                                                                                           HWG LLP
                                                                                  1919 M STREET NW
                                                                             WASHINGTON, DC 20036
                                                                TEL: +1 202 730 1300 | HWGLAW.COM


                                                                                        Michael Nilsson
                                                                          direct dial: +1 202 730-1334
                                                                                mnilsson@hwglaw.com




                                        December 2, 2022


 BY ELECTRONIC FILING

 Marlene H. Dortch
 Secretary
 Federal Communications Commission
 45 L Street NE
 Washington, DC 20554

         Re:    MB Docket No. 22-162 (TEGNA-Standard General)

 Dear Ms. Dortch:

        On November 30 and December 1, representatives of the American Television Alliance
 spoke with FCC staff regarding the TEGNA-Standard General transaction.

     •   On November 30, we spoke with Ben Arden of Commissioner Carr’s office. Present on
         behalf of ATVA and its Member Companies were Stacy Fuller, Cristina Chou, Hadass
         Kogan, Cora Mandy, Holly Kapsimandias, Mike Jacobs, and myself.

     •   On December 1, we spoke with David Strickland of Chairwoman Rosenworcel’s office.
         Present on behalf of ATVA and its Member Companies were Stacy Fuller, Hadass
         Kogan, Cristina Chou, Mike Jacobs, and myself.

     •   Also on December 1, I spoke with Sarah Whitesell and Brendan Holland of the Media
         Bureau.

         At each meeting, we discussed the retransmission-consent related condition based on an
 earlier Sinclair Consent Decree, 1 which we proposed in our initial comments and modified in an
 ex parte letter filed on August 30. For the Commission’s convenience, I have reproduced the
 proposed condition, as modified, in its entirety.



 1
     Sinclair Broad. Grp., Consent Decree, 35 FCC Rcd. 5877 (2020).
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         We also discussed a new concern related to after-acquired station clauses. Altice has
 alleged that Applicants intend, through this transaction, for New TEGNA’s carriage by MVPDs
 to be governed by Cox’s retransmission consent agreements. Applicants have not denied this.

         If this is so, then by definition the parties will have engaged in information sharing
 without need for any further action on their part. In particular, New TEGNA will know the
 termination date and the rates of Cox’s retransmission consent agreements (because New Tegna
 itself will be using them). And Cox will, of course, know the termination date and the rates of
 New TEGNA’s retransmission consent agreements (because they were originally Cox’s own
 agreements).

        This information sharing creates considerable new leverage in the next round of
 retransmission consent negotiations. New TEGNA will enter those negotiations knowing that
 another major station group’s agreement expires on the same day as its own—increasing the
 potential harm caused if New TEGNA pulls its signals. Cox will know the same thing. This
 places new upward pressure on retransmission consent rates.

        The Commission can address this concern without undue disruption of the Applicants’
 business plans. It should simply require New TEGNA to offer a single six-month extension to
 any requesting MVPD. Staggering termination dates would eliminate the additional leverage
 caused by the unique and complicated transaction structure Applicants have chosen.

        Should you have any questions about this matter, please direct them to me.


                                                     Respectfully submitted,




                                                     Michael Nilsson
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                             ATVA PROPOSED CONDITIONS

   Key Definitions

      1. The term “New TEGNA” means TEGNA, Inc., its Subsidiaries and Affiliates, and
         entities controlling it, including, without limitation, Standard General LP.

      2. The term “Cox” means CMG Media Corporation, its Subsidiaries and Affiliates, and
         entities controlling it including, without limitation, Apollo Global Management, Inc.

      3. The term “New TEGNA Station” means any station under the de jure or de facto
         control of New Tegna.

      4. The term “Cox Station” means any station under the de jure or de facto control of
         Cox.


   For New TEGNA

      1. No New TEGNA employee or agent who is involved in any way in retransmission
         consent negotiations on behalf of New TEGNA may possess, receive, access, accept,
         or review in any form any retransmission consent agreement to which a Cox Station
         is a party, or non-public information related to such an agreement (including, but not
         limited to, negotiation plans, strategies, status, and results);

      2. no New TEGNA employee or agent may provide a copy of any retransmission
         consent agreement in any form to which a Cox Station is a party, or non-public
         information related to such an agreement (including, but not limited to, negotiation
         plans, strategies, status, and results), to any New TEGNA employee or agent who is
         involved in any way in retransmission consent negotiations on behalf of New
         TEGNA;

      3. no New TEGNA employee or agent may provide any retransmission consent
         agreement in any form, or non-public information related to such an agreement
         (including, but not limited to, negotiation plans, strategies, status, and results), to any
         third party unless the third party is a signatory of the agreement in question; and

      4. information controls shall be established that

             a. prevent any New TEGNA employee or agent from, intentionally or
                unintentionally, sharing physical or electronic copies of any retransmission
                consent agreement in any form to which a Cox Station is a party, or any
                document containing non-public information (including, but not limited to,
                negotiation plans, strategies, status, and results) related to such an agreement,
                with any New TEGNA employee or agent who is involved in any way in
                retransmission consent negotiations on behalf of New TEGNA,
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              b. prevent any New TEGNA employee or agent who is involved in any way in
                 retransmission consent negotiations on behalf of New TEGNA from,
                 intentionally or unintentionally, accessing physical or electronic copies of any
                 retransmission consent agreement in any form to which a Cox Station is a
                 party, or any document containing non-public information related to such an
                 agreement (including, but not limited to, negotiation plans, strategies, status,
                 and results), and

              c. prevent any New TEGNA employee or agent from, intentionally or
                 unintentionally, sharing physical or electronic copies of any retransmission
                 consent agreement in any form, or any document containing non-public
                 information related to such an agreement (including, but not limited to,
                 negotiation plans, strategies, status, and results), with any third party unless
                 the third party is a signatory of the agreement in question.

   For purposes of clarity, (i) the foregoing provisions limiting access to Cox Station
   retransmission consent agreements or non-public information shall not preclude access by
   New TEGNA employees or agents who are not in any way involved in retransmission
   consent negotiations on behalf of New TEGNA (who may include accounting personnel and
   auditors), and (ii) the foregoing provisions limiting the provision of retransmission consent
   agreements or non-public information to third parties shall not preclude provision of
   retransmission consent agreements to which New TEGNA is a signatory, or non-public
   information related to such agreements, to prospective third-party buyers or other third
   parties conducting audits arising from a New TEGNA retransmission consent agreement who
   affirm in writing that the information will be used solely in connection with due diligence for
   such audit purposes, or to other parties as may be specifically approved by the Commission.

      5. Within thirty (30) calendar days after the Effective Date, New TEGNA shall appoint
         its Chief Accounting Officer to serve as Compliance Officer and to discharge the
         duties set forth below for the duration of the Compliance Plan. The Compliance
         Officer shall be responsible for developing, implementing, and administering the
         Compliance Plan and ensuring that New TEGNA complies with the terms and
         conditions of the Compliance Plan and this Consent Decree. In addition to the
         general knowledge of the Communications Laws necessary to discharge his or her
         duties under this Consent Decree, the Compliance Officer, prior to assuming his/her
         duties, shall have specific knowledge of the RPI Rules, the Rules governing updates
         to applications pending before the Commission, including section 1.65 of the Rules,
         the Retransmission Consent Rules, and the Sponsorship Identification Laws, as they
         are currently in effect and as they may be amended in the future. New TEGNA must
         notify: the Chief, Video Division, Media Bureau; the Chief, Policy Division, Media
         Bureau; and the Chief, Investigations and Hearings Division, Enforcement Bureau,
         within ten (10) business days of any changes to the Compliance Officer or the
         Compliance Officer’s contact information.

      6. New TEGNA agrees that it shall, within ninety (90) calendar days after the Effective
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         Date, develop, implement, and maintain a Compliance Plan that is designed to ensure
         future compliance with the RPI Rules, the Rules governing updates to applications
         pending before the Commission, including section 1.65 of the Rules, the
         Retransmission Consent Rules, and the Sponsorship Identification Laws, as they are
         currently in effect and as they may be amended in the future, and the terms and
         conditions of this Consent Decree, including the following:

      7. Within ninety (90) calendar days after the Effective Date, New TEGNA shall
         establish Operating Procedures that all Covered Employees must follow to help
         ensure New TEGNA’s compliance with these conditions. New TEGNA’s Operating
         Procedures shall include, at a minimum, the provisions described in paragraphs 1–4
         of this section:

      8. Within ninety (90) calendar days after the Effective Date, the Compliance Officer
         shall develop and distribute a Compliance Manual to all Covered Employees. The
         Compliance Manual shall set forth a comprehensive overview of the Retransmission
         Consent Rules and these conditions together with the Operating Procedures that
         Covered Employees shall follow to help ensure New TEGNA’s compliance thereto.
         New TEGNA shall periodically review and revise the Compliance Manual as
         necessary to ensure that the information set forth therein remains current and
         accurate. New TEGNA shall distribute any revisions to the Compliance Manual
         promptly to all Covered Employees.

      9. New TEGNA shall establish and implement a Compliance Training Program to
         ensure compliance with the Retransmission Consent Rules and these conditions. As
         part of the Compliance Training Program, Covered Employees shall be advised of
         New TEGNA’s obligation to report any noncompliance under these conditions and
         shall be instructed on how to disclose noncompliance to the Compliance Officer. All
         Covered Employees shall be trained pursuant to the Compliance Training Program
         (as applicable to their job duties) within ninety (90) calendar days after the Effective
         Date, except that any person who becomes a Covered Employee at any time after the
         initial Compliance Training Program shall be trained within thirty (30) calendar days
         after the date such person becomes a Covered Employee. New TEGNA shall repeat
         compliance training on an annual basis, and it shall periodically review and revise the
         Compliance Training Program as necessary to ensure that it remains current and
         complete and to enhance its effectiveness.

      10. The Compliance Officer shall maintain a hotline for Covered Employees to call the
          Compliance Officer to obtain advice on compliance with the Compliance Plan and
          report violations of the Compliance Plan.

      11. The Compliance Officer shall submit reports to New TEGNA’s Board of Directors
          concerning New TEGNA’s compliance with this Consent Decree and Compliance
          Plan. At a minimum, the report shall state how New TEGNA is complying with each
          subsection of the Compliance Plan. The first such report shall be submitted within
          one-hundred eighty (180) days of the Effective Date and additional reports shall be
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            submitted at least annually thereafter.

        12. Beginning on the Effective Date, New TEGNA shall report any noncompliance with
            the Retransmission Consent Rules, or the terms of this condition within thirty (30)
            calendar days after discovery of such noncompliance. Such reports shall be titled
            “Report of Noncompliance,” and shall include a detailed explanation of: (i) each
            instance of noncompliance and the circumstances under which it occurred; (ii) a
            detailed description of the time and manner in which the noncompliance was
            discovered, the name(s) and title(s) of the person(s) by whom it was discovered, and
            the names and titles of all New TEGNA employees or agents who were aware of the
            activity prior to the discovery that it was noncompliant; (iii) the steps that New
            TEGNA has taken or will take to remedy such noncompliance; (iv) the schedule on
            which such remedial actions will be taken; (v) the steps that New TEGNA has taken
            or will take to prevent the recurrence of any such noncompliance; and (vi) the
            schedule on which such preventive actions will be taken. For each instance of
            noncompliance, the report shall identify the specific statutory requirement, rule, or
            Consent Decree term with which New TEGNA believes it failed to comply. Each
            Report of Noncompliance shall include a certification by the Compliance Officer
            stating that the Compliance Officer has personal knowledge that the report is
            complete and accurate. This certification shall be accompanied by a statement
            explaining the basis for such certification and shall comply with section 1.16 of the
            Rules and be subscribed to as true under penalty of perjury in substantially the form
            set forth therein. 2 All reports of noncompliance submitted under this paragraph shall
            be submitted to Holly Sauer, Federal Communications Commission, 45 L Street NE
            Washington, DC 20554 or an address that the Commission may in the future
            designate for receipt of United States mail, and submitted electronically to XXYY.
            Notwithstanding the Termination Date, this requirement shall remain in effect until
            one year after the Termination Date with respect to any noncompliance that occurs
            between the Effective Date and the Termination Date.

        13. New TEGNA shall report any noncompliance with the Retransmission Consent Laws
            or with the terms and conditions of this Consent Decree occurring after the Effective
            Date within thirty (30) calendar days after discovery of such noncompliance. Such
            reports shall include a detailed explanation of (i) each instance of noncompliance; (ii)
            the steps that New TEGNA has taken or will take to remedy such noncompliance;
            (iii) the schedule on which such remedial actions will be taken; (iv) the steps that
            New TEGNA has taken or will take to prevent the recurrence of any such
            noncompliance; and (v) the schedule on which such preventive actions will be taken.
            All reports of noncompliance under this paragraph 13 shall be submitted to Rosemary
            Harold, Chief, Enforcement Bureau 45 L Street NE Washington, DC 20554, or an
            address that the Commission may in the future designate for receipt of United States
            mail XXX

        14. New TEGNA shall file confidential Compliance Reports with the Commission six (6)

 2
     47 C.F.R. § 1.16.
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            calendar months after the Effective Date and every six (6) months thereafter, with the
            final report to be submitted one week after the Termination Date. Notwithstanding
            the Termination Date, this requirement shall remain in effect until the final report is
            submitted.

        15. Each Compliance Report shall include, for the relevant period:

             a. a detailed description of efforts made by New TEGNA to comply with the terms
                and conditions of this Consent Decree and the Retransmission Consent Rules;

             b. a chart listing all Non-New TEGNA Stations with which New TEGNA has an
                LMA, JSA, SSA, TBA, 3 or other similar agreement (with any necessary
                explanation regarding the purpose of the agreement), the licensee of each station,
                the station’s Designated Market Area (DMA), and whether New TEGNA has an
                attributable interest in the station’s licensee; and

             c. a list of MVPDs with which New TEGNA negotiated retransmission consent,
                identifying the status of the negotiation or the date on which the negotiation
                ended, as well as the date on which any then-current carriage agreement was or is
                scheduled to expire. For each MVPD, New TEGNA shall provide a list of all
                stations represented by New TEGNA in those negotiations, the licensee of each
                station, the station’s DMA, and whether New TEGNA has an attributable interest
                in the station’s licensee.

             d. In addition, each Compliance Report shall include a certification by the
                Compliance Officer, as an agent and on behalf of New TEGNA, stating that the
                Compliance Officer has personal knowledge that New TEGNA: (i) has
                established and implemented the Compliance Plan, including each of the
                Operating Procedures identified in paragraph 1–4; (ii) has utilized the Operating
                Procedures since the implementation of the Compliance Plan; and (iii) is not
                aware of any instances of noncompliance with the terms and conditions of this
                Consent Decree.

             e. The Compliance Officer’s certification shall be accompanied by a statement
                explaining the basis for such certification and shall comply with section 1.16 of
                the Rules and be subscribed to as true under penalty of perjury in substantially

 3
     An LMA is a local marketing agreement under which a broadcast licensee sells blocks of
     time to a broker, who supplies the programming and sells the advertising for those blocks of
     time. A JSA is a joint sales agreement under which a broadcast licensee authorizes a broker
     to sell advertising time for the brokered station. An SSA is a shared services agreement
     between broadcasters to share services, such as (but not limited to) technical support, back-
     office support, or production of newscasts. A TBA is a time brokerage agreement, which, as
     with an LMA, refers to “the sale by a licensee of discrete blocks of time to a ‘broker’ that
     supplies the programming to fill that time and sells the commercial spot announcements in
     it.” See id. § 73.3555, Note 2(j).
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                   the form set forth therein. 4

              f. If the Compliance Officer cannot provide the certification described in paragraph
                 15(e), the Compliance Officer, as an agent of and on behalf of New TEGNA,
                 shall provide the Commission with a detailed explanation of the reason(s) why
                 and describe fully: (i) each instance of noncompliance; (ii) the steps that New
                 TEGNA has taken or will take to remedy such noncompliance, including the
                 schedule on which proposed remedial actions will be taken; and (iii) the steps
                 that New TEGNA has taken or will take to prevent the recurrence of any such
                 noncompliance, including the schedule on which such preventive action will be
                 taken.

              g. All Compliance Reports shall be submitted to Holly Saurer, Chief, Media
                 Bureau, Federal Communications Commission, 45 L Street NE Washington, DC
                 20554, or an address that the Commission may in the future designate for receipt
                 of United States mail and Rosemary Harold, Chief, Enforcement Bureau, Federal
                 Communications Commission, 445 12th Street, SW, Washington, DC 20554 or
                 an address that the Commission may in the future designate for receipt of United
                 States mail, and submitted electronically to XXYY


     For Cox

         1. No Cox employee or agent who is involved in any way in retransmission consent
            negotiations on behalf of Cox may possess, receive, access, accept, or review any
            retransmission consent agreement in any form to which a New TEGNA Station is a
            party, or non-public information related to such an agreement (including, but not
            limited to, negotiation plans, strategies, status, and results);

         2. no Cox employee or agent may provide a copy of any retransmission consent
            agreement in any form to which a New TEGNA Station is a party, or non-public
            information related to such an agreement (including, but not limited to, negotiation
            plans, strategies, status, and results), to any Cox employee or agent who is involved in
            any way in retransmission consent negotiations on behalf of Cox;

         3. no Cox employee or agent may provide any retransmission consent agreement in any
            form, or non-public information related to such an agreement, to any third party
            unless the third party is a signatory of the agreement in question (including, but not
            limited to, negotiation plans, strategies, status, and results); and

         4. information controls shall be established that

                   a. prevent any Cox employee or agent from, intentionally or unintentionally,
                      sharing physical or electronic copies of any retransmission consent agreement

 4
     Id. § 1.16.
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                  in any form to which a New TEGNA Station is a party, or any document
                  containing non-public information related to such an agreement (including,
                  but not limited to, negotiation plans, strategies, status, and results), with any
                  Cox employee or agent who is involved in any way in retransmission consent
                  negotiations on behalf of Cox,

              b. prevent any Cox employee or agent who is involved in any way in
                 retransmission consent negotiations on behalf of Cox from, intentionally or
                 unintentionally, accessing physical or electronic copies of any retransmission
                 consent agreement in any form to which a New TEGNA Station is a party, or
                 any document containing non-public information related to such an agreement
                 (including, but not limited to, negotiation plans, strategies, status, and results),
                 and

              c. prevent any Cox employee or agent from, intentionally or unintentionally,
                 sharing physical or electronic copies of any retransmission consent agreement
                 in any form, or any document containing non-public information related to
                 such an agreement (including, but not limited to, negotiation plans, strategies,
                 status, and results), with any third party unless the third party is a signatory of
                 the agreement in question.

   For purposes of clarity, (i) the foregoing provisions limiting access to New TEGNA Station
   retransmission consent agreements or non-public information shall not preclude access by
   Cox employees or agents who are not in any way involved in retransmission consent
   negotiations on behalf of Cox (who may include accounting personnel and auditors), and (ii)
   the foregoing provisions limiting the provision of retransmission consent agreements or non-
   public information to third parties shall not preclude provision of retransmission consent
   agreements to which Cox is a signatory, or non-public information related to such
   agreements, to prospective third-party buyers or other third parties conducting audits arising
   from a Cox retransmission consent agreement who affirm in writing that the information will
   be used solely in connection with due diligence for such audit purposes, or to other parties as
   may be specifically approved by the Commission.

   5. Within thirty (30) calendar days after the Effective Date, Cox shall appoint its Chief
      Accounting Officer to serve as Compliance Officer and to discharge the duties set forth
      below for the duration of the Compliance Plan. The Compliance Officer shall be
      responsible for developing, implementing, and administering the Compliance Plan and
      ensuring that Cox complies with the terms and conditions of the Compliance Plan and
      this Consent Decree. In addition to the general knowledge of the Communications Laws
      necessary to discharge his or her duties under this Consent Decree, the Compliance
      Officer, prior to assuming his/her duties, shall have specific knowledge of the RPI Rules,
      the Rules governing updates to applications pending before the Commission, including
      section 1.65 of the Rules, the Retransmission Consent Rules, and the Sponsorship
      Identification Laws, as they are currently in effect and as they may be amended in the
      future. Cox must notify: the Chief, Video Division, Media Bureau; the Chief, Policy
      Division, Media Bureau; and the Chief, Investigations and Hearings Division,
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      Enforcement Bureau, within ten (10) business days of any changes to the Compliance
      Officer or the Compliance Officer’s contact information.

   6. Cox agrees that it shall, within ninety (90) calendar days after the Effective Date,
      develop, implement, and maintain a Compliance Plan that is designed to ensure future
      compliance with the RPI Rules, the Rules governing updates to applications pending
      before the Commission, including section 1.65 of the Rules, the Retransmission Consent
      Rules, and the Sponsorship Identification Laws, as they are currently in effect and as they
      may be amended in the future, and the terms and conditions of this Consent Decree,
      including the following:

   7. Within ninety (90) calendar days after the Effective Date, Cox shall establish Operating
      Procedures that all Covered Employees must follow to help ensure Cox’s compliance
      with these conditions. Cox’s Operating Procedures shall include, at a minimum, the
      provisions described in paragraphs 1–4 of this section:

   8. Within ninety (90) calendar days after the Effective Date, the Compliance Officer shall
      develop and distribute a Compliance Manual to all Covered Employees. The Compliance
      Manual shall set forth a comprehensive overview of the Retransmission Consent Rules
      and these conditions together with the Operating Procedures that Covered Employees
      shall follow to help ensure Cox’s compliance thereto. Cox shall periodically review and
      revise the Compliance Manual as necessary to ensure that the information set forth
      therein remains current and accurate. Cox shall distribute any revisions to the
      Compliance Manual promptly to all Covered Employees.

   9. Cox shall establish and implement a Compliance Training Program to ensure compliance
      with the Retransmission Consent Rules and these conditions. As part of the Compliance
      Training Program, Covered Employees shall be advised of Cox’s obligation to report any
      noncompliance of these conditions and shall be instructed on how to disclose
      noncompliance to the Compliance Officer. All Covered Employees shall be trained
      pursuant to the Compliance Training Program (as applicable to their job duties) within
      ninety (90) calendar days after the Effective Date, except that any person who becomes a
      Covered Employee at any time after the initial Compliance Training Program shall be
      trained within thirty (30) calendar days after the date such person becomes a Covered
      Employee. Cox shall repeat compliance training on an annual basis, and it shall
      periodically review and revise the Compliance Training Program as necessary to ensure
      that it remains current and complete and to enhance its effectiveness.

   10. The Compliance Officer shall maintain a hotline for Covered Employees to call the
       Compliance Officer to obtain advice on compliance with the Compliance Plan and report
       violations of the Compliance Plan.

   11. The Compliance Officer shall submit reports to Cox’s Board of Directors concerning
       Cox’s compliance with this Consent Decree and Compliance Plan. At a minimum, the
       report shall state how Cox is complying with each subsection of the Compliance Plan.
       The first such report shall be submitted within one-hundred eighty (180) days of the
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           Effective Date and additional reports shall be submitted at least annually thereafter.

     12. Beginning on the Effective Date, Cox shall report any noncompliance with the
         Retransmission Consent Rules, or the terms of this condition within thirty (30) calendar
         days after discovery of such noncompliance. Such reports shall be titled “Report of
         Noncompliance,” and shall include a detailed explanation of: (i) each instance of
         noncompliance and the circumstances under which it occurred; (ii) a detailed description
         of the time and manner in which the noncompliance was discovered, the name(s) and
         title(s) of the person(s) by whom it was discovered, and the names and titles of all Cox
         employees or agents who were aware of the activity prior to the discovery that it was
         noncompliant; (iii) the steps that Cox has taken or will take to remedy such
         noncompliance; (iv) the schedule on which such remedial actions will be taken; (v) the
         steps that Cox has taken or will take to prevent the recurrence of any such
         noncompliance; and (vi) the schedule on which such preventive actions will be taken.
         For each instance of noncompliance, the report shall identify the specific statutory
         requirement, rule, or Consent Decree term with which Cox believes it failed to comply.
         Each Report of Noncompliance shall include a certification by the Compliance Officer
         stating that the Compliance Officer has personal knowledge that the report is complete
         and accurate. This certification shall be accompanied by a statement explaining the basis
         for such certification and shall comply with section 1.16 of the Rules and be subscribed
         to as true under penalty of perjury in substantially the form set forth therein. 5 All reports
         of noncompliance submitted under this paragraph 12 shall be submitted to Holly Sauer,
         Federal Communications Commission, 45 L Street NE Washington, DC 20554 or an
         address that the Commission may in the future designate for receipt of United States
         mail, and submitted electronically to XXYY. Notwithstanding the Termination Date, this
         requirement shall remain in effect until one year after the Termination Date with respect
         to any noncompliance that occurs between the Effective Date and the Termination Date.

     13. Cox shall report any noncompliance with the Retransmission Consent Laws or with the
         terms and conditions of this Consent Decree occurring after the Effective Date within
         thirty (30) calendar days after discovery of such noncompliance. Such reports shall
         include a detailed explanation of (i) each instance of noncompliance; (ii) the steps that
         Cox has taken or will take to remedy such noncompliance; (iii) the schedule on which
         such remedial actions will be taken; (iv) the steps that Cox has taken or will take to
         prevent the recurrence of any such noncompliance; and (v) the schedule on which such
         preventive actions will be taken. All reports of noncompliance under this paragraph 13
         shall be submitted to Rosemary Harold, Chief, Enforcement Bureau 45 L Street NE
         Washington, DC 20554, or an address that the Commission may in the future designate
         for receipt of United States mail XXX

     14. Cox shall file confidential Compliance Reports with the Commission six (6) calendar
         months after the Effective Date and every six (6) months thereafter, with the final report
         to be submitted one week after the Termination Date. Notwithstanding the Termination
         Date, this requirement shall remain in effect until the final report is submitted.

 5
     Id.
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     15. Each Compliance Report shall include, for the relevant period:

              a. a detailed description of efforts made by Cox to comply with the terms and
                 conditions of this Consent Decree and the Retransmission Consent Rules;

              b. a chart listing all Non-Cox Stations with which Cox has an LMA, JSA, SSA,
                 TBA, 6 or other similar agreement (with any necessary explanation regarding the
                 purpose of the agreement), the licensee of each station, the station’s Designated
                 Market Area (DMA), and whether Cox has an attributable interest in the station’s
                 licensee; and

              c. a list of MVPDs with which Cox negotiated retransmission consent, identifying
                 the status of the negotiation or the date on which the negotiation ended, as well
                 as the date on which any then-current carriage agreement was or is scheduled to
                 expire. For each MVPD, Cox shall provide a list of all stations represented by
                 Cox in those negotiations, the licensee of each station, the station’s DMA, and
                 whether Cox has an attributable interest in the station’s licensee.

              d. In addition, each Compliance Report shall include a certification by the
                 Compliance Officer, as an agent and on behalf of Cox, stating that the
                 Compliance Officer has personal knowledge that Cox: (i) has established and
                 implemented the Compliance Plan, including each of the Operating Procedures
                 identified in paragraph 1–4 (ii) has utilized the Operating Procedures since the
                 implementation of the Compliance Plan; and (iii) is not aware of any instances of
                 noncompliance with the terms and conditions of this Consent Decree.

              e. The Compliance Officer’s certification shall be accompanied by a statement
                 explaining the basis for such certification and shall comply with section 1.16 of
                 the Rules and be subscribed to as true under penalty of perjury in substantially
                 the form set forth therein. 7

              f. If the Compliance Officer cannot provide the certification described in paragraph
                 15(e), the Compliance Officer, as an agent of and on behalf of Cox, shall provide
                 the Commission with a detailed explanation of the reason(s) why and describe

 6
     An LMA is a local marketing agreement under which a broadcast licensee sells blocks of
     time to a broker, who supplies the programming and sells the advertising for those blocks of
     time. A JSA is a joint sales agreement under which a broadcast licensee authorizes a broker
     to sell advertising time for the brokered station. An SSA is a shared services agreement
     between broadcasters to share services, such as (but not limited to) technical support, back-
     office support, or production of newscasts. A TBA is a time brokerage agreement, which, as
     with an LMA, refers to “the sale by a licensee of discrete blocks of time to a ‘broker’ that
     supplies the programming to fill that time and sells the commercial spot announcements in
     it.” See id. § 73.3555, Note 2(j).
 7
     Id. § 1.16.
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                fully: (i) each instance of noncompliance; (ii) the steps that Cox has taken or will
                take to remedy such noncompliance, including the schedule on which proposed
                remedial actions will be taken; and (iii) the steps that Cox has taken or will take
                to prevent the recurrence of any such noncompliance, including the schedule on
                which such preventive action will be taken.

            g. All Compliance Reports shall be submitted to Holly Saurer, Chief, Media
               Bureau, Federal Communications Commission, 45 L Street NE Washington, DC
               20554, or an address that the Commission may in the future designate for receipt
               of United States mail and Rosemary Harold, Chief, Enforcement Bureau, Federal
               Communications Commission, 445 12th Street, SW, Washington, DC 20554 or
               an address that the Commission may in the future designate for receipt of United
               States mail, and submitted electronically to XXYY


 After-Acquired Station Clauses

    1. New TEGNA shall, upon request from any MVPD, extend the term of its retransmission
       consent agreement with that MVPD for six months.

    2. New TEGNA shall be required to grant only one such extension to each requesting
       MVPD.


 Termination Date

    1. These conditions shall expire six months after Cox ceases to hold any financial interest,
       attributable or not, in New TEGNA.
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     Attachment D
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                                  Before the
                    FEDERAL COMMUNICATIONS COMMISSION
                             Washington, DC 20554

  In the Matter of                            )
  Applications to Transfer Control of TEGNA   )     MB Docket No. 22-162
  Inc. to Standard General L.P.               )
                                              )
                                              )



                      APPLICANTS’ JOINT REPLY COMMENTS

                                          Scott R. Flick
                                          Jessica T. Nyman
                                          Pillsbury Winthrop Shaw Pittman LLP
                                          1200 Seventeenth Street, NW
                                          Washington, DC 20036
                                          scott.flick@pillsburylaw.com
                                          jessica.nyman@pillsburylaw.com
                                          Counsel for SGCI Holdings III LLC

                                          Jennifer A. Johnson
                                          Jocelyn Jezierny
                                          Covington & Burling LLP
                                          One CityCenter, 850 Tenth Street, NW
                                          Washington, DC 20001
                                          jjohnson@cov.com
                                          jjezierny@cov.com
                                          Counsel for TEGNA Inc.

                                          Michael D. Basile
                                          Henry H. Wendel
                                          Cooley LLP
                                          1299 Pennsylvania Avenue, NW, Suite 700
                                          Washington, DC 20004
                                          mdbasile@cooley.com
                                          hwendel@cooley.com
                                          Counsel for CMG Media Corporation
 January 20, 2023
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                                     Before the
                       FEDERAL COMMUNICATIONS COMMISSION
                                Washington, DC 20554

     In the Matter of                            )
     Applications to Transfer Control of TEGNA   )      MB Docket No. 22-162
     Inc. to Standard General L.P.               )
                                                 )
                                                 )

                         APPLICANTS’ JOINT REPLY COMMENTS

 I.       Introduction and Summary

          SGCI Holdings III LLC (“Standard General”), TEGNA Inc. (“TEGNA”), and CMG

 Media Corporation (“CMG,” and together with Standard General and TEGNA, the “Applicants”)

 hereby reply to comments filed on January 13, 2023 by (1) NewsGuild, Common Cause, and

 UCC (collectively, “Petitioners”),1 (2) American Television Alliance (“ATVA”),2 (3) NCTA –

 The Internet & Television Association (“NCTA”),3 and DISH Network Corporation (“DISH”),4

 (collectively, the “January 13 Comments”) in response to the Media Bureau’s December 23,

 2022 public notice. The public notice sought comment on three letters (collectively, the

 “December Letters”) that Standard General, CMG, and Apollo Global Management, Inc.

 (“AGM”) filed addressing concerns earlier raised in petitions or comments as reasons to deny or




 1
   Comments of the NewsGuild-CWA, National Association of Broadcast Employees and
 Technicians-CWA (together, “NewsGuild”), United Church of Christ, OC., Inc. doing business
 as United Church of Christ Media Justice Ministry (“UCC”) and Common Cause, MB Docket
 No. 22-162 (filed January 13, 2023) (“Petitioners’ Comments”).
 2
   Letter from Michael Nilsson, Counsel to ATVA, to Marlene H. Dortch, Secretary, Federal
 Communications Commission, MB Docket No. 22-162 (filed January 13, 2023) (“ATVA
 Comments”).
 3
   Comments of NCTA, MB Docket No. 22-162 (filed Jan. 13, 2023) (“NCTA Comments”).
 4
   Comments and Opposition of DISH Network Corporation, MB Docket No. 22-162 (filed
 January 13, 2023) (“DISH Comments”).
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 condition grant of applications (the “Applications”) seeking consent to Standard General’s

 proposed acquisition of TEGNA and related transactions (collectively, the “Transactions”).

          At the outset, some level-setting is in order. Applicants are seeking approval for

 Transactions that will greatly serve the public interest and which have received overwhelming

 support in the record. Among other benefits, the Transactions will result in creation of the

 largest minority-owned and female-led broadcast television company in U.S. history, adding

 sorely needed diversity to broadcast ownership and management and making significant progress

 toward remedying today’s vast under-representation of Asian Americans in commercial

 television ownership. Even without the December Letters, the Transactions are consistent with

 the public interest, comply with all rules, and do not present any anticompetitive harms. But

 Applicants have gone further than any law or rule requires, addressing even speculative harms

 posited by Petitioners and commenters through the waivers and commitments made in the

 December Letters. These include Standard General’s commitment to preserve newsroom jobs

 during a time of great economic uncertainty and layoffs across the media industry, its unilateral

 waiver of freely negotiated contractual rights that eliminates any argument that the transaction

 structure will result in an increase in retransmission rates for TEGNA stations, and agreement to

 multiple additional conditions requested by its competitors in the MVPD industry.

          The Transactions do not, as Petitioners claim, involve an “extraordinary and

 unprecedented ownership structure.”5 Standard General will be the single majority shareholder

 (and the only attributable shareholder) of TEGNA, holding 100% voting control. Petitioners,

 ATVA, and NCTA have relentlessly sought in this proceeding to inflate the importance of

 AGM’s role as one of many investors in this transaction, claiming (falsely) that the Transactions


 5
     Petitioners’ Comments at 2.

                                                   2
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 will result in the “intertwining of [CMG] and TEGNA”6 and “allow the two parties to control

 about 70 television stations.”7 But AGM and CMG will have no role in the operation of

 TEGNA—they will have only usual and customary minority investor protections that the

 Commission has approved countless times—rights that are explicitly enumerated in the record

 and which no petitioner or commenter has even discussed, much less challenged.

        Similarly, a broadcaster having an investment in another broadcaster is neither novel nor

 prohibited. Indeed, the Commission adopted a rule for just such investments 25 years ago—the

 Equity-Debt Plus Rule—to define at what level such investments should be considered of

 interest to the FCC and therefore attributable.8 As noted in the Applications, the aggregate




 6
   ATVA Comments at 1.
 7
   Petitioners’ Comments at 3. Unbound by uncontroverted facts, Petitioners are apparently
 adding Standard General’s existing 4 TV stations and CMG’s Boston station to TEGNA’s
 existing 65 full-power stations. However, after the Transactions, Standard General will control
 only 61 TEGNA stations; CMG/AGM will have no control over those stations, nor will Standard
 General have control over the stations being sold to CMG.
 8
   47 C.F.R. § 73.3555, Note 2 (i); see also Review of the Commission’s Regulations Governing
 Attribution of Broadcast and Cable/MDS Interests, Review of the Commission’s Regulations and
 Policies Affecting Investment in the Broadcast Industry, Reexamination of the Commission’s
 Cross-Interest Policy, 14 FCC Rcd 12559, 12579 (1999). Notably, as TEGNA is a publicly
 traded company, AGM and CMG, without even notifying the FCC, much less obtaining its
 approval, could today buy a far larger interest in TEGNA than is proposed in the Transactions.
 And unlike in the Transactions, that interest would have (a) voting rights, (b) the right to vote on
 directors, and (c) an interest in the economic performance of TEGNA. As the Equity-Debt Plus
 Rule makes clear, the proposed AGM interest here is certainly not “extraordinary,” and in fact is
 not even a Transactions-specific event. The Equity-Debt Plus Rule would permit AGM to make
 a far greater investment in TEGNA than is proposed here without the need for any FCC notice or
 applications. If Petitioners believe attribution should be calculated differently, “the appropriate
 course of action is to request that the Commission institute a generic rulemaking proceeding to
 change its multiple ownership rules and policies.” Spanish Radio Network, 10 FCC Rcd 9954,
 9556 ¶ 9 (1995) (citing Patteson Brothers, Inc., 8 FCC Rcd 7595, 7596 (1993)).

                                                  3
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 interest in post-Transactions TEGNA proposed to be held by AGM and CMG would need to be

 nearly ten times larger to be considered attributable by the FCC under that rule.9

        Further, TEGNA will be smaller following the Transactions than it is today, and CMG

 will similarly have fewer stations in fewer markets than it did when the Applications were

 filed.10 As such, and despite DISH’s desire to recycle self-serving arguments that the

 Commission rejected in previous transactions,11 the Transactions would not result in an

 “accumulation of stations” giving anyone “significantly more leverage during retransmission

 consent negotiations.”12




 9
   See Applications, Comprehensive Exhibit at 4 n.12. Applicants note that if Apollo/CMG’s
 interests were ten times larger, attribution would only apply with respect to the particular
 TEGNA stations in the markets where CMG and TEGNA will both own stations, not in TEGNA
 itself.
 10
    In fact, with CMG’s sale of 18 stations in 12 markets to Imagicomm Communications (which
 closed on August 1, 2022), CMG will own stations covering less than 15% of the country
 without application of the UHF Discount. See Harry A. Jessell & Mark K. Miller, Top 30
 Station Groups, June 29, 2022, https://tvnewscheck.com/business/article/top-30-station-groups-
 standard-general-leaps-into-second-place-with-tegna-acquisition/ (hereinafter “Top 30 Station
 Groups”).
 11
    See, e.g., DISH Comments at 3 n.4 (incorporating by reference anti-consolidation arguments
 DISH made (and the FCC rejected) in the Media General-Nexstar and Nexstar-Tribune
 proceedings); see also In the Matter of Applications for Consent to Transfer Control of License
 Subsidiaries of Media Gen., Inc., from Shareholders of Media Gen., Inc. to Nexstar Media Grp.,
 Inc., 32 FCC Rcd 183, 192 (MB 2017) (“MG-Nexstar”); In the Matter of the Applications of
 Tribune Media Company (Transferor) & Nexstar Media Group., Inc. (Transferee) et al., No.
 BTCCDT-20190107ADJBA, 2019 WL 4440126, at *10 (2019) (“Nexstar-Tribune”) (“Perhaps it
 is in DISH’s private interest to have a broader geographic reach than the broadcast companies
 with which it negotiates retransmission consent agreements. But DISH certainly does not set
 forth a compelling argument that reducing the current disparity in geographic reach in this
 instance would result in rates that are anything other than the product of a competitive
 marketplace and therefore not in the public interest. Moreover, with regard to DISH’s
 allegations of prospective price increases stemming from marketplace negotiations, it does not
 show whether, on balance, they would reduce consumer welfare or, rather, just shift surplus
 between DISH and broadcast stations.”).
 12
    DISH Comments at 3.

                                                  4
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        None of the January 13 Comments (or any of the pleadings before them) “contain

 specific allegations of fact sufficient to show that granting the [Applications] would be prima

 facie inconsistent with the public interest,”13 nor have they raised a “substantial and material

 question of fact . . . as to whether the [Applications] would serve the public interest.”14 Indeed,

 the last factual (or other) assertion of any sort by a non-Applicant party in this proceeding that

 was actually supported by a declaration submitted under penalty of perjury was made in June

 2022, seven months ago.15 The dozens of filings submitted by a handful of deal opponents since

 then have been little more than the proverbial sound and fury, signifying nothing.

        Petitioners, DISH, and ATVA are now simply seeking through their comments to move

 the goalposts once again in the hope of creating further delay for delay’s sake while seeking the

 Commission’s assistance in advancing their purely private financial interests. For its part,

 NCTA seeks to expand certain commitments beyond what is needed to address its stated

 concerns. The Commission should reject Petitioners’, DISH’s, and ATVA’s proposals, as well

 as any NCTA proposal that needlessly introduces ambiguity or is unconnected to the

 Transactions, and move swiftly to grant the Applications.




 13
    MG-Nexstar, 2 FCC Rcd at 192 (citing 47 U.S.C. § 310(d)).
 14
    Id.
 15
    See Kola, Inc., Memorandum Opinion and Order, 11 FCC Rcd 14297, 14305 ¶ 15 (1996)
 (citing 47 U.S.C. § 309(d)) (allegations unsupported by any affidavit of a person having personal
 knowledge cannot be considered sufficient to establish a prima facie showing under the Astroline
 test).

                                                   5
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 II.    The Comments Identify No Fault in Standard General’s After-Acquired Waiver,
        and Merely Seek to Manipulate the FCC Process to Serve the MVPDs’ Own
        Economic Interests

            A. Standard General’s Waiver Letter Fully Resolves the Concerns About
               Increased Retransmission Rates Raised by Petitioners, Whose Continuing
               Protective Order Violations Merit Sanctions

        One of the Petitioners’ two main complaints against the Transactions has been their

 allegation that retransmission rates might rise due to application of after-acquired clauses and

 that MVPDs would pass on any rate increases to consumers in the form of higher subscription

 fees.16 (Petitioners’ other complaint—reduction of local news through journalist layoffs—is

 discussed in Section IV below.) The effect of after-acquired clauses was also ATVA member

 Altice’s sole stated concern about the Transactions.17

        The Commission has consistently rejected MVPD requests in previous transactions to

 consider the impact of privately negotiated after-acquired clauses a public interest harm.18

 Nonetheless, Standard General fully addressed Petitioners’ and Altice’s concern in the first of the




 16
    Petition to Deny of Common Cause and UCC, MB Docket No. 22-162 (filed June 22, 2022)
 (“Common Cause/UCC Petition”) at 21-23; Petition to Dismiss or Deny of NewsGuild, MB
 Docket No. 22-162 (filed June 22, 2022) (“NewsGuild Petition”) at 18-22 (“Applicants’ attempt
 to exploit ‘after-acquisition’ clauses in retransmission consent contracts will inevitably result in
 increased MVPD subscription prices that will harm Petitioners’ members and all other
 subscribers.”).
 17
    See Comments of Altice, USA, Inc. (“Altice”), MB Docket No. 22-162 (filed June 22, 2022);
 see also Reply Comments of Altice, MB Docket No. 22-162 (filed Aug. 1, 2022); Altice Ex
 Parte Letters filed on August 22, 2022, August 30, 2022, and October 20, 2022. ATVA’s own
 comments did not address after-acquired clauses, perhaps in recognition of the Commission’s
 historical reluctance to deprive an applicant the benefit of its bargain), and DISH did not
 participate in any of the previous rounds of comments.
 18
    See, e.g., Nexstar-Tribune, 2019 WL 4440126 at *19 (“We reject the arguments raised
 regarding after-acquired clauses, which, according to DISH, allow a broadcaster to bring newly
 acquired stations under its existing retransmission agreement, substituting the bigger
 broadcaster’s higher rate for the rate actually negotiated by the MVPDs for the acquired
 stations.”); MG-Nexstar, 32 FCC Rcd at 197 (same).

                                                  6
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 three December Letters (the “Waiver Letter”).19 Standard General irrevocably waived its rights

 under any term or condition of any retransmission consent agreement that would, by reason of

 the Transactions, result in any retransmission consent agreement associated with WFXT in

 Boston applying to any current TEGNA station that will be controlled by Standard General after

 the closing of the Transactions. This is not merely a proposal or even a future commitment to

 the Commission; the irrevocable waiver letters were signed and sent to the relevant MVPDs in

 December. As such, the after-acquired waiver is not a “behavioral remedy” dependent on future

 actions by either the FCC or Standard General (or anyone who might later “purchase TEGNA

 from Standard General”20)—it is an existing fact.21

        Altice—the primary party arguing against having the terms of after-acquired clauses it

 negotiated applied to it in the Transactions—did not submit any comments questioning the

 Waiver Letter. Likewise, Petitioners did not have any substantive comments on the Waiver

 Letter. Their only comment on the Waiver Letter is the patently false allegation that Standard

 General’s Soohyung Kim “misrepresented to the Commission, … claiming that enhanced


 19
    Letter from Soohyung Kim, Managing Member of Standard General, to Marlene H. Dortch,
 Secretary, Federal Communications Commission, MB Docket No. 22-162 (filed Dec. 16, 2022).
 20
    ATVA Comments at 7.
 21
    In any event, Petitioners’ arguments against “behavioral remedies” are misplaced and
 unsupported. The American Antitrust Institute White Paper they cite provides only an early
 analysis of the Department of Justice’s ability to enforce behavioral remedies and, notably,
 details several reasons why “sector regulators” like the FCC are better equipped to monitor and
 enforce behavioral remedies. See American Antitrust Institute, “Behavioral Merger Remedies:
 Evaluation and Implications for Antitrust Enforcement,” John Kwoka and Diana Moss,
 November 2021, at 31-32. Indeed, the Commission has frequently found that potential public
 interest harms can be resolved through remedial conditions and has effectively enforced those
 conditions as needed. Id. at 33 (noting that “regulators such as the FCC … will almost always
 impose behavioral remedies if a merger cannot otherwise be found to be in the public interest.”);
 see also News Corp. and DirecTV Group, Inc. (Transferors) and Liberty Media Corp.
 (Transferee), Memorandum Opinion and Order, 23 FCC Rcd 3265, 3268 (2008) (“[W]e find that
 our grant of the Application, as conditioned, serves the public interest”); see also Applications of
 Comcast, GE, and NBCUniversal, Inc., 26 FCC Rcd 4238 (2011).

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 retransmission revenues were never part of their ‘thesis’ … for the transaction.”22 Of course,

 one need only look at the Waiver Letter to see Petitioners’ allegation is based on something that

 Mr. Kim did not say.23 Mr. Kim instead stated in the Waiver Letter that the impact of such

 revenues “is not central” to Standard General’s thesis for the Transaction.24 It demonstrably is

 not, as Standard General voluntarily waived its contractual rights and yet is still seeking approval

 to consummate the Transactions.

        This is but one more in a litany of misstatements and mischaracterizations that Petitioners

 have made throughout this proceeding in their desperate attempts to land a quote in the press,

 subvert a fair review, and block Transactions that comply with all Commission rules and have

 resounding public interest support from more than thirty parties in the record (while the

 Petitioners remain conspicuously alone in their opposition to a grant). For example, in just their

 latest filing, the Petitioners falsely claim (among other things) that TEGNA and CMG are “the

 two largest TV group owners,”25 that there are “six major markets in which Standard General

 and AGM would each have TV licenses,”26 and that the Applications propose that CMG will



 22
    Petitioners’ Comments at 3 (emphasis added); see also id. at 15 (falsely claiming that Mr. Kim
 “has now denied” that “the after-acquired bump-up…[was] considered to be part of their
 ‘investment thesis’….”).
 23
    Petitioners spend pages recounting how revenue projections relating to potential
 retransmission consent fees were included in certain documents as if they have uncovered some
 smoking gun. Applicants provided these same documents (or versions of them) to the
 Commission and Protective Order signatories (including NewsGuild) on June 13 and October 13,
 and nothing in them conflicts with Mr. Kim’s statement.
 24
    Waiver Letter.
 25
    Petitioners’ Comments at 2. Following the Transactions, Cox will rank twelfth in number of
 TV markets; TEGNA would rank fifth in terms of TV markets behind Nexstar, Gray, Sinclair
 and Scripps. See Top 30 Station Groups, Note 10, supra.
 26
    Petitioners’ Comments at 18; see also id. at 3. There are only four markets where both
 TEGNA and CMG stations currently operate (and there will only be five post-Transactions),
 each of which is specifically named in Petitioners’ Comments, making it obvious that Petitioners


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 acquire TEGNA before TEGNA is then sold to Standard General.27 Each of these statements is

 demonstrably false, but Petitioners base their arguments upon them, while ironically making

 unfounded misrepresentation claims against the Applicants.

        Equally troubling are Petitioners’ continuing Protective Order violations.28 Petitioners’

 Comments discuss and include quotes from highly confidential documents (in both the public

 and restricted copies of their filing29) that were produced pursuant to the Protective Order in this

 proceeding and they suggest that they reviewed even more (“too many … to be listed and

 discussed here”30). But neither counsel for Common Cause nor UCC—each of whom are

 signatories to Petitioners’ Comments—are permitted to have access to such information because

 they did not sign the Protective Order acknowledgement.31 So either NewsGuild’s counsel

 violated the Protective Order by making the contents of the highly confidential documents

 available to individuals who did not sign the Protective Order, or counsel for the other Petitioners

 violated Section 1.52 of the Commission’s rules by signing comments that they were not legally

 permitted to read, while still certifying that they have “read the document; that to the best of



 knew that their repeated claim of six overlap markets in their comments is false. See, e.g., id. at
 3, 18.
 27
    Petitioners’ Comments at 2. The Comprehensive Exhibit provides a simple “before” and
 “after” diagram of the TEGNA transfer, showing clearly that TEGNA is simply merging into a
 subsidiary that will be 100% controlled by Standard General. See Applications, Comprehensive
 Exhibit at Exhibit A-3.
 28
    See Standard General Written Ex Parte Presentation, MB Docket No. 22-162 (filed Nov. 21,
 2022) at 3-4 and n.9 (detailing NewsGuild’s previous Protective Order violations).
 29
    The public version of Petitioners’ Comments includes at least nine quotes from five documents
 that AGM designated as highly confidential. See, e.g., Petitioners’ Comments at 15-16 (publicly
 quoting highly confidential AGM documents).
 30
    Id. at 14.
 31
    See Protective Order, MB Docket No. 22-162 (June 3, 2022) (“Protective Order”) at ¶ 12
 (permitting disclosure only to the FCC, Support Personnel (as appropriate) or another Reviewing
 Party (i.e., “a person who has obtained access to Confidential Information … or Highly
 Confidential Information … pursuant to” the Protective Order)).

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 [their] knowledge, information, and belief there is good ground to support it; and that it is not

 interposed for delay.”32 Further compounding Petitioners’ violations, the restricted (unredacted)

 version of the Petitioners’ Comments does not “distinguish among the Confidential Information,

 the Highly Confidential Information and the non-confidential information” as required by the

 Protective Order,33 greatly increasing the risk of additional improper disclosures by readers

 unaware of which matter is confidential and therefore should not be repeated or circulated.

        That Petitioners must resort to these bad-faith tactics underscores the lack of substance

 their comments have to offer. The Commission should, accordingly, reject Petitioners’

 Comments and take appropriate action consistent with precedent to address their repeated,

 intentional violations, including actions necessary to prevent any further disclosure of the

 Applicants’ highly confidential information.34

            B. DISH and ATVA Improperly Seek to Use This Proceeding to Further Their
               (or Their Members’) Private Financial Interests.

        DISH and ATVA do not challenge the efficacy of the Waiver Letter or underlying

 waivers. Instead, after previously railing against broadcasters for relying upon after-acquired

 clauses that MVPDs themselves negotiated (and in many cases, where MVPDs have received


 32
    47 C.F.R. § 1.52; see also AT&T Corp. Application for Auth. to Discontinue Offering of High
 Seas Serv., Order on Reconsideration, 16 FCC Rcd 13636, 13654 at n.23 (July 10, 2001) (“the
 attorney’s signature represents a certificate that he or she has read the document and that, to the
 best of the attorney’s knowledge, information and belief, there is good ground to support the
 statements in the document. The rule further provides that an attorney may be subjected to
 appropriate disciplinary action should he or she make false statements in a submission to the
 Commission.”).
 33
    See Protective Order at ¶ 13.
 34
    Id. at ¶ 20; see also Rates for Interstate Inmate Calling Services, 30 FCC Rcd 10130 (WCB
 2015) (denying any further access to confidential documents submitted under the protective
 order to employees of party that made an unintentional disclosure of restricted information and
 prohibiting the individual responsible for the violation “from reviewing confidential documents
 submitted in this proceeding or any other proceeding before the FCC and from participating
 further in this proceeding.”).

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 reciprocal after-acquired system rights), they ask the FCC to rewrite privately negotiated

 retransmission contracts unrelated to the Transactions—but only where such revisions would

 financially benefit MVPDs. As the FCC has consistently affirmed, however, its role “is to

 ‘establish a marketplace for the disposition of the rights to retransmit broadcast signals,’ but not

 to ‘dictate the outcome of the ensuing marketplace negotiations.’”35 Consistent with this, the

 Commission should reject DISH’s and ATVA’s proposals.

           i.   MVPDs’ Conflicting Proposals Betray Their Stated Concerns

        The efforts of DISH and ATVA to create a financial windfall for MVPDs in this

 proceeding are so frenzied that they present multiple conflicting arguments that contradict both

 their own and each other’s arguments. These efforts should be soundly rejected as obvious

 attempts to game the FCC’s review simply for their own (or their members’) financial benefit.

        For example, DISH inexplicably argues that CMG should be required to waive

 enforcement of its own after-acquired clauses with respect to the stations it is proposing to

 acquire. But since CMG has no current retransmission agreement with DISH, there would be no

 relevant after-acquired clause for CMG to waive. For DISH’s argument to make even the

 slightest sense, DISH would have to be saying that if it reaches a retransmission consent

 agreement with CMG before closing of the Transactions, and DISH agrees to a negotiated

 provision allowing CMG to apply the terms of that agreement to stations CMG subsequently

 acquires, including any former TEGNA stations, the FCC should step in to save DISH from the

 terms of an agreement it just negotiated. That would be both the epitome of DISH refusing to




 35
    See, e.g., Nexstar-Tribune, 2019 WL 4440126 at *10; see also id. at *5 (rejecting MVPD’s
 requests to “deny a merger that [the MVPD] argues would give a negotiating advantage to a
 broadcaster, or “if the Merger is approved, [to] adopt protections to prevent post-Merger Nexstar
 from negotiating what [the MVPD] believes would be anticompetitive rates.”).

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 negotiate in good faith and a tremendous abuse of the Commission’s processes. As the

 Commission has cautioned with regard to petitions:

        Petitions are specifically intended to enable interested parties to provide factual
        information to the Commission as to whether grant of an application would serve the
        public interest. To the extent that they are used for other than their intended purpose,
        e.g., for private financial gain, to settle personal claims, or as an emotional outlet, the
        public interest is disserved.36

        DISH’s proposal also directly conflicts with Altice’s and ATVA’s “commandeering”

 theory.37 Under this theory, Altice and ATVA asserted that the sole reason the FCC could

 deviate in this proceeding from its longstanding position that retransmission consent agreements

 are “private contractual matters” beyond the Commission’s authority is because this proceeding

 would have involved Standard General enforcing a retransmission consent agreement assigned to

 it rather than one Standard General had itself negotiated. Altice and ATVA argued that this

 distinguished the current proceeding from all prior proceedings, and the Commission could

 therefore proclaim the application of an after-acquired provision in this proceeding to be

 anticompetitive. DISH, however, is now arguing the opposite. DISH is proposing that CMG be

 prevented from enforcing contract rights it negotiated on its own behalf with no change in the

 parties involved. MVPDs cannot have it both ways. Either (a) the “commandeering theory” is

 defensible, and CMG is not covered by it since CMG has not commandeered anything, or (b) it

 is a complete fallacy, and there is no basis for the Commission to deviate from its long-held

 position that retransmission consent agreements are private contractual matters outside the




 36
    Amendment of Sections 1.420 and 73.3584 of the Commission’s Rules Concerning Abuses of
 the Commission’s Processes, 67 R.R.2d 1526, 1530 (1990) (citation omitted).
 37
    See Altice Notice of Ex Parte Communication, MB Docket No. 22-162 (filed Oct. 20, 2022);
 see also ATVA Comments at 4.

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 Commission’s authority. In either case, there is no basis for DISH’s self-interested proposal, and

 indeed, DISH presents none.

          DISH’s proposal is also contrary to ATVA’s stated information-sharing concern, in

 which ATVA argues that allowing a broadcaster to assume another broadcaster’s retransmission

 consent agreements in a station purchase is inappropriate because the purchaser will then know

 the seller’s retransmission consent agreement terms in addition to its own. Far from preventing

 that, DISH’s proposal would actually require such “information sharing” by prohibiting CMG

 from applying any after-acquired clauses in its own agreements, and thereby requiring CMG to

 assume the TEGNA agreements for the purchased stations. Under DISH’s proposal, CMG

 would be forced to know both CMG’s and TEGNA’s retransmission terms, as it would have to

 operate under both of them.

          This is the same “harm” that ATVA alleges would arise if Standard General applied a

 CMG agreement to TEGNA, just in reverse. In ATVA’s words, it would require CMG to

          know the termination dates and rates of [TEGNA’s] retransmission consent
          agreements” (because [CMG] itself will be using them). And [TEGNA] will, of
          course, know the termination dates and rates of [CMG’s] retransmission consent
          agreements (because they were originally [TEGNA’s] own agreements.38

 Like the other proposals for expanded MVPD rights found in the comments, DISH’s position is

 that such information sharing is not a harm, but a benefit so long as an MVPD gets a lower rate

 out of it now. It also demonstrates that the MVPD handwringing in the comments over the risks

 of a broadcaster becoming aware of a seller’s retransmission consent agreement terms or of

 coterminous agreements is disingenuous. DISH reveals that it will happily accept all of these

 future “risks” if it can manipulate the FCC into saving it a penny on retransmission rates today.




 38
      See ATVA December 2, 2022 Ex Parte Letter at 2 (“ATVA December 2 Ex Parte”).

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         Because DISH has not demonstrated any valid basis for the Commission to “step in and

 deny one party the benefit of the negotiated bargain”39 or to otherwise interfere with private

 contractual negotiations, particularly in light of the voluntary waiver that Standard General has

 already made, the Commission should reject DISH’s expansionist proposals out of hand.40

 Should DISH and CMG enter an agreement between now and closing, DISH should bargain for

 what it seeks in that negotiation rather than improperly enlisting the Commission to interfere

 after the fact.41

           ii.       MVPDs’ New “Coterminous” Concerns Are Specious

         Similarly baseless is ATVA’s proposal that MVPDs should have the unilateral right to

 extend any TEGNA or CMG retransmission consent agreement by six months, even though it

 acknowledges that the Waiver Letter moots the concern ATVA first raised on December 2 about

 coterminous agreements.42 Revealing its motives as yet another MVPD money grab, ATVA

 does not limit such extensions only to when needed to prevent TEGNA and CMG agreements

 from becoming coterminous, but instead proposes it as an unfettered right to be invoked by

 MVPDs at any time. Indeed, an MVPD could invoke this proposed right even when the

 maneuver ends up more closely aligning the expiration dates of TEGNA and CMG

 retransmission consent agreements.




 39
    Nexstar-Tribune, 2019 WL 4440126 at *19.
 40
    See Nexstar-Tribune, 2019 WL 4440126 at *19 (rejecting DISH’s arguments regarding after-
 acquired clauses (which the DISH Comments repeat verbatim here), finding that “[s]uch after-
 acquired station clauses were negotiated by the parties outside of this transaction, and there is no
 apparent reason to step in and deny one party the benefit of the negotiated bargain absent
 evidence of anticompetitive practices or other wrongdoing not apparent here.”).
 41
    See Nexstar-Tribune, 2019 WL 4440126 at *19 (reminding DISH that “the Commission is not
 the proper forum for resolving an alleged private contractual dispute.”).
 42
    ATVA Comments at 4.

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        It is also worth noting that the unstated premise of these proposals—that TEGNA and

 CMG agreements could convey increased leverage in retransmission consent negotiations by

 being made coterminous—is not explained by any of the commenters. DISH comes closest,

 suggesting coterminous expirations are bad because they “increase the pressure on MVPDs,” but

 does not say how. This claim is illogical on many levels:

        1. The MVPD knows exactly when all of its own retransmission consent agreements
           expire, so it is actually the one with the information advantage over the broadcaster in
           setting expiration dates that it believes are optimal for the MVPD. DISH and ATVA
           are arguing here that the Commission should ensure that only MVPDs are allowed the
           supposed negotiating advantage of optimizing expiration dates.

        2. The expiration date in a retransmission consent agreement is a term that both parties
           must agree on, making it impossible for a broadcaster to force a particular expiration
           date on the MVPD. If an MVPD agrees to a less than optimal expiration date in
           return for better rates, TV Everywhere rights, etc. in the negotiation, the FCC should
           not later entertain MVPD complaints about the expiration date being “forced” on it.43


 43
    Contrary to ATVA’s assertion, MVPDs are not “at the mercy of the broadcaster to dictate
 extension terms and dates.” ATVA Comments at 6. Indeed, DISH recently elected to drop both
 Standard General and CMG from its system despite both broadcasters offering carriage
 extensions to prevent blackouts during renewal negotiations and any MVPD concerned about the
 potential alignment of expiration dates is free to do the same without the Commission’s
 interference. See, e.g., Jon Lafayette, Broadcasting+Cable, Four Standard General Stations
 Blacked Out in Dispute With Dish, Nov. 13, 2022, https://www.nexttv.com/news/four-standard-
 general-stations-blacked-out-in-dispute-with-dish (“‘Dish has taken the inexplicable position that
 it will no longer carry the stations during the negotiations. Our stations therefore will no longer
 be accessible through Dish. This is Dish’s choice, and not what we prefer,’ the company said.”);
 WSOC-TV.com News Staff, DISH chooses to black out all Cox Media Group TV stations across
 the country, Nov. 28, 2022, https://www.wsoctv.com/dish/ (citing Paul Curran, EVP of
 Television, Cox Media Group: “Let me be clear – despite their numerous false claims, it was
 solely DISH’s decision to remove CMG’s best-in-class TV stations from its service. To keep our
 stations on the DISH platform, we offered DISH an extension of our current agreement with no
 strings attached, but DISH refused.”).
    As ATVA itself acknowledged, “the distributor and the broadcaster must agree on any
 extension to an expiring contract.” ATVA Comments at 5. ATVA asserts that broadcasters can
 offer extensions to MVPDs during negotiations as a way of shifting retransmission consent
 agreement expiration dates, but fails to note that such extensions rarely change the end date of a
 new contract, and instead merely provide more time for the parties to complete negotiations.
 The start and end dates of the term of the resulting agreement are rarely affected, and of course
 the MVPD would have to agree to any end date alteration regardless.

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          3. Similarly, if broadcasters assigned the overriding value to coterminous expiration
             dates that DISH and ATVA suggest, used broadcast transactions to divine expiration
             dates, and had the ability to force whatever termination date they wanted on MVPDs,
             as ATVA suggests, then the market long ago would have coalesced around a single
             date for all retransmission consent agreements to expire. That has not happened, of
             course, demonstrating that broadcasters value other elements of the agreement far
             more highly than they do any theoretical leverage they might gain through
             coterminous expirations dates.

          4. Given ATVA’s claim that agreements that expire within six months of each other
             somehow convey added leverage,44 and given the three-year term of nearly all
             retransmission agreements (a legacy of the three-year retransmission consent election
             cycle), there are at most only six expiration “windows” in a three-year term. A
             broadcaster with no more than a calendar and a dart would still end up being
             “coterminous” with multiple large broadcasters.

          When ATVA raised this “coterminous agreement” concern for the first time on

 December 2, it framed the alleged harm as prospective (i.e., CMG and TEGNA would know

 each other’s rates if the CMG agreements were applied to the TEGNA stations). Now that

 Standard General has mooted that concern with the Waiver Letter, ATVA has moved the

 goalposts, claiming that the harm (whatever that unspecified harm might be) has already

 occurred. ATVA’s comments misleadingly suggest that the Applicants have engaged in

 unlawful information sharing—they have not—and speculates that by knowing expiration dates,

 Applicants might seek in the future to align the TEGNA and CMG expiration dates. ATVA is

 wrong in both regards, and its proposal should be rejected.

          Applicants reiterate that Standard General does not, as ATVA presumes, know “the rates

 of Cox’s retransmission consent agreements” and CMG does not know “the rates of TEGNA’s

 retransmission consent agreements.”45 As Standard General certified on October 13, 2022, it has




 44
      ATVA Comments at 6.
 45
      Id. at 5.

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 not reviewed CMG’s retransmission consent agreements.46 Similarly, no CMG employee or

 anyone involved in the negotiation of CMG’s retransmission consent agreements has reviewed

 any TEGNA retransmission consent agreements. Moreover, despite ATVA’s claims to the

 contrary, sharing such information with prospective buyers in connection with transaction

 diligence is neither improper nor prohibited by the Commission’s rules.47 In fact, the Sinclair

 Consent Decree conditions that ATVA itself has championed throughout this proceeding

 specifically carve out from the information sharing prohibitions the right to provide

 “retransmission consent agreements…or non-public information related to such agreements, to

 prospective third-party buyers ….”48 Retransmission consent agreements typically address the

 extent to which the agreement may be shared with prospective buyers, and MVPDs have at least

 as many rights (often more) to share information under these clauses. To the extent ATVA and

 DISH object to such information sharing, they (or their members) can negotiate for such

 confidentiality in their respective agreements (as some have done) or petition the Commission to

 amend its rules,49 but they should not be making unfounded claims here or demanding that the

 Commission change its rules in an adjudicatory proceeding.50



 46
    See Applicants’ Joint Response to the Media Bureau’s Request for Information, MB Docket
 No. 22-162 (filed Oct. 13, 2022) (“October 13 Joint Response”) at 17.
 47
    See ATVA Comments at 4.
 48
    In the Matter of Sinclair Broadcast Group, File No. EB-IHD-16-00021748 (rel. May 22, 2020)
 at 12 (“Sinclair Consent Decree”).
 49
    See, e.g., DISH Comments at 7 (proposing that Applicants should “agree not to share
 confidential retransmission agreements with another Entity or broadcast station owner or
 manager, including without limitation in the process of negotiating or contracting future mergers,
 acquisitions, or similar transactions.”).
 50
    See, e.g., Spanish Radio Network, 10 FCC Rcd 9954, 9556 (1995) (“Insofar as Miami
 Petitioners would have the rule recast so as to prohibit broadcast concentration in a market
 defined by language comprehension, the appropriate course of action is to request that the
 Commission institute a generic rulemaking proceeding to change its multiple ownership rules
 and policies.”) (citing Patteson Brothers, Inc., 8 FCC Rcd 7595, 7596 (1993)).

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         iii.   ATVA Improperly Asks the Commission to Prejudge Future Transactions
                Unrelated to This One

        Lastly, the Commission should reject ATVA’s request to prohibit each of the Applicants

 and anyone else acquiring stations from any of the Applicants from ever “enforcing any after-

 acquired station clause which it did not negotiate, where such enforcement would lead to higher

 rates” for the MVPD.51 Increased retransmission consent rates are not, standing alone, a

 cognizable public interest harm,52 and the Commission “has limited authority to decide the

 substantive outcome of retransmission consent negotiations or to determine a retransmission

 consent fee.” 53 Further, the Commission should refrain from pre-judging transactions that are

 not currently before it.54 Any demonstration of “anticompetitive practices or other wrongdoing”

 so significant as to persuade the Commission that it should “step in and deny one party the

 benefit of the negotiated bargain”55 needs to be made in the relevant proceeding. If ATVA and

 its members find that “[a]fter-acquired station clauses are often problematic,”56 then they should

 stop agreeing to them (and similarly stop demanding reciprocal provisions for their own

 acquisitions) rather than accepting the benefits of their bargain and then demanding the

 Commission intervene when that bargain works against them. If ATVA wants the Commission




 51
    See ATVA Comments at 6 (original emphasis deleted).
 52
    Nexstar-Tribune, 2019 WL 4440126 at *10 (“[W]e do not believe that an increase in
 retransmission consent rates, by itself, is necessarily a public interest harm.”).
 53
    Id. at *16; see also id. at 10 (“Over the years, the Commission has consistently affirmed
 Congress’s intent, in creating the retransmission consent regime, to ‘establish a marketplace for
 the disposition of the rights to retransmit broadcast signals’ but not to ‘dictate the outcome of the
 ensuing marketplace negotiations.’”).
 54
    See 47 U.S.C. § 309 (requiring the Commission to “determine, in the case of each application
 filed with it to which Section 308 of this title applies, whether the public interest, convenience,
 and necessity will be served by the granting of such application ….” (emphasis added)).
 55
    Nexstar-Tribune, 2019 WL 4440126 at *19.
 56
    ATVA Comments at 4.

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 to reconsider its longstanding position that an increase in MVPD programming costs is not in

 and of itself a public interest harm, the Commission has instructed that the proper forum to make

 that case is a rulemaking proceeding.57

 III.   The December 23 Non-Coordination Letter Resolves Any Joint Retransmission
        Concerns and the Commission Should Reject Opportunistic and Untimely Requests
        for More

        The primary focus of ATVA’s and NCTA’s original comments and subsequent filings in

 this proceeding has been preventing “[CMG] and New TEGNA from sharing information with

 one another related to retransmission consent deals involving any of their stations, not just those

 in overlapping markets.”58 To that end, they each proposed substantively similar conditions

 designed to prevent the Applicants from sharing retransmission consent information with each

 other “to ensure that the [Applicants] comply with the bar on joint retransmission consent

 negotiations codified in the Communications Act and the Commission’s rules.”59 NCTA

 proposed additional conditions to prevent Applicants from engaging common legal counsel or

 other agents in connection with negotiating retransmission consent agreements and from entering

 post-Transactions LMAs, JSAs, SSAs, or similar agreements.60

        In the letter submitted on December 23 (the “Non-Coordination Letter”), Standard

 General, CMG, and AGM agreed in substance to all of the conditions NCTA originally



 57
    Nexstar-Tribune, 2019 WL 4440126 at *31 (rejecting DISH’s allegations and explaining that
 “the Commission has, in the past, considered issues related to retransmission consent—including
 leverage in retransmission consent negotiations—in rulemaking proceedings, and we believe that
 it is appropriate to continue that practice here.”).
 58
    See Comments of ATVA, MB Docket No. 22-162 (filed June 22, 2022) (“ATVA June
 Comments”); see also Letter from Radhika Bhat, Vice President & Associate General Counsel of
 NCTA, to Marlene H. Dortch, Secretary, Federal Communications Commission, MB Docket No.
 22-162 (filed June 22, 2022) (“NCTA Letter”).
 59
    See NCTA Letter at 4-5; see also ATVA June Comments at 15-18.
 60
    See NCTA Letter at 5.

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 proposed. The NCTA Comments primarily respond to Applicants’ effort in the Non-

 Coordination Letter to clarify NCTA’s original conditions, and NCTA now proposes three

 additional conditions. As to Petitioners, the complaints in their comments are premised on a

 willful misreading of Applicants’ commitments, and their proposals exceed the Commission’s

 authority. Finally, ATVA simply seeks to broaden the information-sharing restrictions beyond

 what it previously requested and to apply conditions from another broadcaster’s consent decree

 that are irrelevant here. None of the January 13 Comments demonstrates that the commitments

 proposed in the Non-Coordination Letter are insufficient to address the joint retransmission

 concerns raised in this proceeding.

             A. The Non-Coordination Letter’s Clarifications to NCTA’s Proposals Are
                Essential to Focusing the Conditions on the Transactions and Alleged
                Transaction-Specific Harms, Rather Than on Routine Commercial Activities

        NCTA originally proposed six conditions to address its concerns about potential

 retransmission consent coordination between the Applicants. Applicants agreed in substance to

 each of those conditions. But any conditions adopted in this proceeding must be limited to the

 Transactions at issue and the potential harms that the Commission has reason to believe would

 result therefrom.61 The clarifications Applicants made to NCTA’s original proposals in their

 Non-Coordination Letter ensure that result and remove other ambiguities present in NCTA’s

 language.

        Starting with the Non-Coordination Letter’s first commitment, Applicants and NCTA are

 mostly aligned. However, the language that NCTA seeks to strike (i.e., prohibiting employees or




 61
    See, e.g., FCC.gov, Overview of the FCC’s Review of Significant Transactions,
 https://www.fcc.gov/reports-research/guides/review-of-significant-transactions (last visited Jan.
 20, 2023) (“Transactions can be approved with conditions that allow the transaction to proceed
 but eliminate or mitigate the potential harms the Commission has found are likely to occur.”).

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 agents of Standard General/TEGNA and CMG/AGM from receiving non-public information

 “from the other”) should remain in place. Striking the “from the other” clarification would

 otherwise permit, for example, an MVPD to force a breach of the conditions on Applicants

 through no fault of the Applicants, such as when an NCTA member (willfully or accidentally)

 conveys non-public CMG information to TEGNA. To the extent NCTA is concerned

 Applicants’ language would permit one to indirectly deliver non-public information to the other,

 that can easily be resolved by adding “(including from the other’s employees or agents)” for

 clarity. Applicants and NCTA appear to be aligned on the Non-Coordination Letter’s second

 and third commitments.

        But the Commission should reject NCTA’s revisions to the Non-Coordination Letter’s

 fourth, fifth, and sixth commitments pertaining to LMAs, JSAs, SSAs, and similar agreements.

 Applicants agreed in the Non-Coordination Letter to NCTA’s proposed conditions relating to

 LMAs, JSAs, SSAs, and similar agreements (with appropriate carve-outs)62 to the extent they

 relate to agreements between stations owned by Standard General/TEGNA and CMG/AGM.

 NCTA seeks to modify Applicants’ commitments to encompass agreements with non-Applicant

 third parties. But NCTA fails to explain what Transaction-specific harm would be cured by

 requiring TEGNA and CMG to maintain in all of their public files a list of every agreement

 TEGNA or CMG might have with a non-Applicant station or requiring Applicants to upload and

 file copies of such third-party agreements 30 days prior to such agreements taking effect.




 62
   Any relevant conditions should use the Non-Coordination Letter’s more precise description of
 agreements over ambiguous and undefined terms used in NCTA’s proposal (e.g., “sidecar
 agreement” and “sharing agreement”) with the appropriate carve-outs enumerated in footnote 4
 of the Non-Coordination Letter (e.g., ATSC 3.0-related hosting agreements, Diginet agreements,
 and agreements for non-broadcast station products which do not present any retransmission
 consent “collusion” or “coordination” concerns).

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           It is particularly difficult to envision any harm that this proposed condition is needed to

 resolve, given that the Commission’s rules already require broadcasters to upload copies of

 LMAs, JSAs, and SSAs to the relevant stations’ public inspection files within 30 days of

 execution. In other words, Applicants have already agreed to enhanced public inspection file

 requirements with respect to such agreements among themselves (to enable efficient monitoring

 of Applicants’ related commitment not to enter such agreements among themselves for so long

 as AGM or CMG have a financial interest in TEGNA) and, to the extent NCTA is curious about

 which other stations Applicants have agreements with, that information is already required to be

 made publicly available.63 The Commission should reject any overbroad request seeking to

 impose conditions that do not address a Transactions-specific harm, especially those seeking to

 impede relationships with parties having no connection to the Transactions.

           With respect to the new conditions NCTA has proposed, Applicants are willing to

 formalize through conditions statements and waivers they have previously made, i.e. (a)

 Standard General/TEGNA and CMG/AGM will not engage in joint retransmission consent

 negotiations or coordination between post-closing TEGNA and CMG, AGM, or their respective

 affiliates, even where it would be legally permissible under the Commission’s rules; and (b) the

 waiver set forth in Standard General’s Waiver Letter. The Commission should, however, decline

 to adopt NCTA’s new proposal regarding indirect actions as superfluous and sufficiently

 ambiguous as to accidentally prohibit routine commercial interactions unrelated to any alleged

 Transactions-specific harms. The relevant commitments as proposed in the Non-Coordination

 Letter and discussed above are already broad enough to bar Applicants from circumventing the

 prohibitions through use of employees or agents, and the Commission would not have difficultly


 63
      See 47 C.F.R. § 73.3526(e)(14), (16), and (18).

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 enforcing the conditions against a Transactions-specific harm in the absence of the proposed

 addition.

             B. Petitioners Misread the Non-Coordination Letter and Request Remedies
                That Are Beyond the Commission’s Authority

        Petitioners are plainly wrong when they contend that the Non-Coordination Letter would

 leave Applicants free to have “unlimited discussion of ongoing or future retransmission consent

 negotiations, so long as their employees or agents do not share information about” existing

 contracts.64 Existing Commission rules already preclude such coordination or joint negotiation

 with respect to future retransmission consent agreements in markets where TEGNA and CMG

 both own stations and, given the practical reality that retransmission consent agreements are

 negotiated on a national basis, the companies would be precluded under the rules from jointly

 negotiating or coordinating since the agreements would cover both “overlap” and “non-overlap”

 markets.65 The Commission need not condition grant of an application on compliance with rules,

 as all Commission licensees are expected to comply with the Commission’s rules66 and a

 mechanism for Commission enforcement already exists.67 Indeed, where Standard General made

 commitments in a separate December Letter relating to certain labor matters, Petitioners


 64
    Petitioners’ Comments at 17-18.
 65
    47 C.F.R. § 76.65 (prohibiting “[c]oordination of negotiations or negotiation on a joint basis
 by two or more television broadcast stations in the same local market to grant retransmission
 consent to a multichannel video programming distributor, unless such stations are directly or
 indirectly under common de jure control permitted under the regulations of the Commission.”).
 66
    See, e.g., In the Matter of Liability of KGVL, Inc., Licensee of Radio Station KGVL,
 Greenville, Tex. for Forfeiture, 42 F.C.C.2d 258, 259 (1973) (“Licensees are expected to comply
 with Commission requirements.”); see also In the Matter of Liability of J.C. Johnson, Trading as
 Lowndes Cnty. Broad. Co., Licensee of Radio Station WJEM, Valdosta, Ga. for Forfeiture, 23
 F.C.C.2d 91, 91 (1970) (“Licensees are expected to know and comply with the Commission’s
 rules and regulations and will not be excused for violations thereof, absent clear mitigating
 circumstances.”).
 67
    See, e.g., Sinclair Consent Decree; see also In the Matter of DirectTV, LLC et al. v. Deerfield
 Media, Inc. et al, Forfeiture Order, 36 FCC Rcd 12078 (2021).

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 complained that such actions were “already mandated by law, and thereby add[] nothing at all,”68

 so presumably the Petitioners would find conditions replicating existing joint retransmission

 laws similarly unnecessary.

        The Non-Coordination Letter goes further than what is required by law, however. It

 prevents the Applicants from sharing information about existing agreements, addressing MVPD

 concerns that, despite such sharing not being prohibited under the Commission’s rules, that

 information could be leveraged in future negotiations. The Non-Coordination Letter also

 explicitly reiterates that Standard General and AGM/CMG “will not engage in joint

 retransmission consent negotiations or coordination between post-closing TEGNA and CMG,

 [AGM] or their respective affiliates, even where it would be legally permissible under the

 Commission’s rules.”69 And, as discussed in Section III.A above, Applicants are fine with

 NCTA’s proposal to memorialize this commitment with a condition, rendering Petitioners’

 concerns moot.

        Petitioners’ only other stated concern, lumped into the “Retransmission Consent” section

 of their comments, is that the Non-Coordination Letter does not address the potential for joint

 negotiations in other contracts. But Petitioners fail to explain what motivation Applicants would

 have to “develop joint strategies for syndicated programming” (or how that would even result in

 public interest harms), and the Commission has no jurisdiction over “labor management

 negotiations,” which Petitioners concede are governed by other laws, including the Sherman

 Act.70 The Commission should therefore reject these efforts to continue moving the goalposts in

 this proceeding.


 68
    Petitioners’ Comments at 9; see also id. at 12.
 69
    Non-Coordination Letter at 1-2.
 70
    Petitioners’ Comments at 18-19.

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            C. The Commission Should Reject ATVA’s Self-Serving and Internally
               Inconsistent Requests

        ATVA continues to urge the Commission to adopt the conditions set out in the Sinclair

 Consent Decree but now also seeks broader and conflicting conditions. For example, although

 ATVA has sought for the past seven months to prevent information sharing between any

 “employee or agent who is involved in any way in retransmission consent negotiations” on

 behalf of TEGNA or CMG,71 ATVA now demands that the Non-Coordination Letter’s

 commitment to do just that be broadened to apply to employees who are not “involved” or do not

 otherwise participate in such negotiations or any other third parties.72 Even the Sinclair Consent

 Decree conditions did not go so far, recognizing that there may be legitimate business reasons to

 share such information that would not result in competitive harm, and the Commission should

 not accept ATVA’s belated request to broaden the limitation here.73

        ATVA also takes issue with the fact that the Applicants only proposed to restrict

 information sharing “among themselves.” But (1) Applicants cannot bind anyone but themselves

 or their agents to these commitments, and (2) the basis for ATVA’s proposed conditions all

 along has been that the Transactions would “heighten[] the parties’ incentive and ability to


 71
    See, e.g., ATVA June Comments at 15; ATVA December 2 Ex Parte at 3.
 72
    See ATVA Comments at 3.
 73
    See Sinclair Consent Decree at 12; see also ATVA June Comments at 16 (basing proposed
 conditions on Sinclair Consent Decree and proposing that “[f]or purposes of clarity, (i) the
 foregoing provisions limiting access to Cox Station retransmission consent agreements or non-
 public information shall not preclude access by New TEGNA employees or agents who are not
 in any way involved in retransmission consent negotiations on behalf of New TEGNA… and (ii)
 the foregoing provisions limiting the provision of retransmission consent agreements or non-
 public information to third parties shall not preclude provision of retransmission consent
 agreements to which New TEGNA is a signatory, or non-public information related to such
 agreements, to prospective third-party buyers or other third parties conducting audits arising
 from a New TEGNA retransmission consent agreement who affirm in writing that the
 information will be used solely in connection with due diligence or such audit purposes, or to
 other parties as may be specifically approved by the Commission.”).

                                                 25
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 coordinate” retransmission consent.74 The Non-Coordination Letter squarely addresses that

 stated concern. ATVA fails to posit any theory about how the Transactions would heighten the

 risk of or potential harms relating to information sharing with third parties. Moreover, as

 discussed above, there are circumstances permitted under the Commission’s rules (and built into

 the Sinclair Consent Decree conditions that ATVA has proposed applying in this proceeding)

 where sharing information with a third party would serve a valid business purpose (e.g., with a

 prospective third-party buyer) without raising any anticompetitive concerns. The Commission

 should reject ATVA’s capricious and ever shifting requests.

        Lastly, ATVA has failed to demonstrate any need to impose the onerous compliance plan

 requirements of the Sinclair Consent Decree on the Transactions. ATVA’s vague assertion that

 its “Member Companies’ recent experience with Sinclair…suggests that” the proposed

 conditions “work best when accompanied by detailed enforcement and reporting provisions”75 is

 unsupported by any declaration or details that would enable the Commission or Applicants to

 evaluate this claim, or to determine whether that “experience” has anything to do with the

 Applicants. As ATVA acknowledges, the Commission “has the inherent power to enforce its

 own conditions and to impose remedies for failure to comply.”76

        Moreover, the circumstances underlying the Sinclair Consent Decree have nothing

 whatsoever to do with the Transactions or the parties to them. Quite simply, the premise of a

 consent decree is that a party has been alleged to have engaged in some unlawful activity, and a

 consent decree can be a resource-efficient way to address such allegations. Here, ATVA

 proposes that the Commission become the Future Police, anticipating violations by parties that


 74
    ATVA June Comments at 18.
 75
    Id. at 4.
 76
    Id.

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 have no record of engaging in such activities, and for which there is no evidence to suggest they

 ever would. In fact, it is worth noting that included in ATVA’s proposed consent decree-

 conditions are mandates for such things as the Sponsorship Identification and Application

 Updating Rules.77 There is simply no basis for such untargeted conditions, much less ATVA’s

 proposed compliance plan and reporting requirements for them.

        Applicants emphasize that the commitments made in the Non-Coordination Letter are not

 for the purpose of bringing the Transactions into compliance with the Commission’s rules—they

 already are. As for the future, the Applicants have represented time and again in the record that

 they never planned to and will not jointly negotiate or coordinate retransmission consent with

 each other and have agreed to formalizing that representation with a condition. The Commission

 should reject baseless speculation that Applicants will act contrary to their representations.78

 IV.    Standard General’s December 22 Jobs Letter Fully Addresses Petitioners’
        Allegations Regarding Local News and Journalists

        In a December 22, 2022 letter (the “Jobs Letter”), Standard General supplemented its

 earlier statements on not reducing local news or station staffing by specifically committing not to

 conduct any journalism or newsroom staffing layoffs or similar reductions at its stations for a

 minimum of two years following the Transactions. Standard General also made clear that it does

 not have plans for any future station staffing reductions and that it expects that implementation

 of its plans for TEGNA will actually increase the number of journalists and other newsroom

 employees at TEGNA stations. To facilitate Commission monitoring, Standard General offered



 77
    See, e.g., ATVA December 2 Ex Parte at 4 (discussing “the RPI Rules, the Rules governing
 updates to applications pending before the Commission, including Section 1.65 of the Rules, the
 Retransmission Consent Rules, and the Sponsorship Identification Laws ….”).
 78
    See, e.g., Univision Holdings, Inc., Memorandum Opinion and Order, 7 FCC Rcd 6672, 6675
 (1992).

                                                  27
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 to file quarterly reports providing the amount of new investments made at the local station level

 and, after the two-year job preservation period concludes, information regarding any layoffs in

 the newsrooms of TEGNA stations. Additionally, Standard General committed to recognize

 each of the labor unions currently covered by a collective bargaining agreement with TEGNA as

 the exclusive bargaining representative of those bargaining unit employees and to cause TEGNA

 to honor such collective bargaining agreements.

        Petitioners misinterpret the Jobs Letter as a “narrowing” of Standard General’s

 commitments on jobs.79 In reality, the binding commitments made in the Jobs Letter are in

 addition to, rather than replacements of, the commitments Standard General has made (under

 penalty of perjury) throughout this proceeding.80 They fully rebut Petitioners’ unsupported

 allegations that Standard General has a “business model of laying off reporters and reducing

 local news coverage”81 (thoroughly discredited in the record, with Standard General’s broadcast

 companies having added over 40,000 hours of local news in just seven years82) and that the

 Transactions could “lead to a reduction of local news coverage through reporter layoffs.”83 And

 Standard General’s reiteration in the Jobs Letter that it has no intention of reducing station-level

 staffing at TEGNA following the Transactions refutes (yet again) Petitioners’ relentless and false




 79
    Petitioners’ Comments at 3.
 80
    See Kola, Inc., 11 FCC Rcd at 14305 (finding petitioner failed to raise a substantial and
 material question of fact where its “speculative allegations were completely answered and
 contradicted by the sworn declaration of [applicant’s] Chief Financial Officer.”).
 81
    Reply Comments of Petitioners, MB Docket No. 22-162 (filed Aug. 1, 2022) (Petitioners’
 Reply) at 6.
 82
    See Applicants’ Consolidated Opposition and Response to Comments, MB Docket No. 22-162
 (filed July 7, 2022) (“Applicants’ Opposition”) at 19.
 83
    Common Cause/UCC Petition at 19; NewsGuild Petition at 15.

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 assertions (quite literally material misrepresentations) that job reductions at the stations are part

 of Standard General’s “stated business model”84 and “stated plans.”85

        Petitioners have offered nothing to support their insistence that Standard General will do

 other than what it says, or to support their assertion that a commitment not to conduct journalist

 or newsroom layoffs for a minimum of two years is insufficient to “protect locally originated

 news and other programming at TEGNA.”86 It should also be noted that Standard General has

 indicated it is not reducing the news aired on TEGNA stations (which, as noted above, is backed

 up by a demonstrated history of increasing local news on the stations it has owned).87 Thus,

 uninformed claims about how Standard General will staff its stations are not only speculative,

 but irrelevant to the Commission’s public interest review. The Commission should therefore

 reject such speculation, and more generally, the Petitioners’ objections to the Transactions

 themselves. “In the absence of properly supported specific allegations of fact to support a

 contrary conclusion,” the Commission “do[es] not assume that any applicant ‘will not faithfully


 84
    NewsGuild Petition at 13; see also Petitioners’ Reply at 6.
 85
    Petitioners’ Reply at 26.
 86
    Petitioners’ Comments at 10-11. Interestingly, the Petitioners posit a new claim—that staffing
 could still be reduced through attrition (where an employee departs and their position remains
 open either because the station cannot find a qualified replacement or the station reorganizes job
 responsibilities or both)—but in making this argument, the Petitioners effectively concede the
 effectiveness of Standard General’s commitment to not engage in layoffs. The Petitioners can
 hardly complain about employees who leave of their own accord, and their argument that the
 baseline for comparing employment figures shouldn’t be closing, but before the “significant
 attrition at TEGNA stations in the past year” (Petitioners’ Comments at 11) demonstrates two
 things. First, NewsGuild is finally acknowledging that reduced staffing levels at TEGNA
 stations did occur on TEGNA’s watch (as TEGNA detailed in the October 13 Joint Response)
 and were not a nefarious post-closing plan of Standard General, and second, that Petitioners have
 abandoned their earlier claims of “massive layoffs of journalists” and are now insisting the
 stations must go on hiring binges for the public interest to be served. It becomes clear that the
 Petitioners have no actual public interest concerns here, as evidenced by the fact that, for the
 duration of this proceeding, they have refused to even meet with Standard General to discuss any
 TEGNA employment matters.
 87
    See Applicants’ Opposition at 19.

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 carry out its representations or that an applicant will be operated or controlled in a manner that

 differs from the [transaction] under consideration.”88

        Petitioners’ remaining grievance with the Jobs Letter is Standard General’s voluntary

 offer to file quarterly reports with the Commission regarding the amount of new investments it

 has made at the local station level, claiming that such reports should (1) provide more detail

 regarding individual station and department headcounts and (2) be publicly filed. But publicly

 filing such detailed information raises potential competitive concerns and would facilitate the

 very harm that Petitioners caution against (i.e., information sharing with respect to labor and

 employment matters).89 In any event, the reports Standard General proposed are more than

 sufficient to address any concern the Commission may have as a result of Petitioners’ flagrantly

 false allegations that Standard General’s “stated business model” includes “ruthlessly cutting

 costs.”90 For all of the foregoing reasons, the Commission should reject Petitioners’ claims

 regarding the Jobs Letter.

 V.     The Transactions Will Yield Numerous and Significant Public Interest Benefits

        More than thirty civil rights and labor organizations, legislators, former employees,

 women in tech leadership, broadcasters, and other public interest groups have filed in support of




 88
    Univision Holdings, Inc., 7 FCC Rcd at 6675; see also Fox Television Stations Inc.,
 Declaratory Ruling, 8 FCC Rcd 5341, 5350 n.28 (1993) (granting permanent waiver of
 newspaper-broadcast cross-ownership rule, proceeding “on the assumption that Fox will carry
 out its repeated representations … to ‘salvage the newspaper,’ ‘repair the damage,’ ‘resuscitate a
 newspaper that was on the brink of failure,’ and ‘implement its plan to save a major daily
 newspaper.’”) (citing News International, PLC, Memorandum Opinion and Order, 97 F.C.C.2d
 349, 356 (1984) (“[I]t is not appropriate to infer, in the absence of information to the contrary,
 that [an applicant] will not faithfully carry out its representations [as to future conduct].”)).
 89
    See Petitioners’ Comments at 17-18.
 90
    NewsGuild Petition at 13.

                                                  30
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 the Transactions, proclaiming their numerous public interest benefits,91 making clear that the

 Petitioners stand alone in failing to perceive to those benefits. In addition, the Committee for the

 Assessment of Foreign Participation in the United States Telecommunications Services Sector

 notified the Commission months ago that it had completed its review of the Applications and had

 no objection to the FCC granting them.92

        The Applicants are clearly qualified to hold broadcast licenses, as they are all currently

 Commission licensees, and the Transactions comply with the Commission’s rules without the

 need for any divestitures or waivers. Importantly, the Transactions will strengthen TEGNA

 station programming and benefit viewers by bringing to TEGNA Standard General’s and Deb

 McDermott’s proven historical focus on investing in and improving local news operations.93

 This, along with Standard General’s and Deb McDermott’s belief in giving local station

 managers greater autonomy to serve their communities, is the very definition of localism.

        Additionally, as the Commission is well aware, the Transactions will create the largest

 (by far) minority-owned and female-led television broadcast group in U.S. history. The

 Commission’s Sixth Report on Ownership of Broadcast Stations, released just last week,

 provides the latest evidence of just how significant of a public interest benefit this boost in

 diversity will be. The Sixth Report on Ownership indicates that Asian Americans are

 significantly underrepresented in television ownership, and attributable interests held by Asian




 91
    See Standard General and TEGNA Facts, Supporters, https://www.sgandtegna.com/supporters
 (last visited Jan. 20, 2023).
 92
    Letter from Andrew Coley, Office of Chief Counsel, United States Department of Commerce,
 to Tom Sullivan, Chief, International Bureau, Federal Communications Commission, MB
 Docket Nos. 22-162, 22-166 (dated Nov. 17, 2022).
 93
    See Applicants’ Response to Request for Documents and Information, MB Docket No. 22-162
 (filed June 13, 2022) at 5.

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 Americans in full-power commercial television stations declined by more than half in 2021.94

 Tellingly, out of 1,365 full-power commercial television stations nationwide, only 8 are

 majority-owned by an Asian American, and only 1 of those is in a top-50 market.95 And the

 Asian American-owned station in that one top-50 market is not even a Top-4 station.

        According to the Sixth Report on Ownership, the Transactions would increase the number

 of Asian American-owned commercial TV stations by more than 700%, but even that vastly

 understates the impact, as the Transactions would also end the relegation of Asian American

 owners to small markets. Approval of the Applications would increase the number of Asian

 American-owned TV stations in the top-50 markets from 1 to 27, making approval of the

 Applications perhaps the single most impactful diversity initiative in the Commission’s history.

        Despite the numerous and significant public interest benefits and overwhelming support

 for the Transactions, the Applications have remained pending for far longer than any recently

 approved major TV transaction.96 Indeed, a review of past decisions indicates that even if the

 Applications were granted today, this proceeding would represent the longest period of time

 between the filing of applications and approval for any major television transaction in history not

 requiring rule waivers or station divestitures.




 94
    See Media Bureau and Office of Economics and Analytics, Sixth Report on Ownership of
 Broadcast Stations, FCC Form 323 and Form 323-E Ownership Data as of October 1, 2021, DA
 23-35 (rel. Jan. 13, 2023) (“Sixth Report on Ownership”) at Figure A1.
 95
    See Sixth Report on Ownership at Table A(3).
 96
    See Scripps-ION transaction, requiring divestiture of 23 full-power stations in 21 markets and
 reauthorization of satellite authority for 3 stations (granted 62 days after applications were filed);
 Gray-Quincy transaction, requiring divestiture of 10 full-power stations in 7 markets, 3 failing
 station waivers, and reauthorization of satellite authority for 2 stations (granted 168 days after
 applications were filed); Gray-Meredith transaction, requiring divestiture of 1 full-power station
 (granted 185 days after applications were filed).

                                                   32
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        The delay in approving the Applications and unlocking the public interest benefits of the

 Transactions has been harmful to the public, and to the employees and potential new employees

 of TEGNA. The delay has stalled Standard General’s ability to invigorate newsrooms across the

 country and left TEGNA in limbo, as its employees work in uncertainty and consider how denial

 of the Applications would increase risks to their job security in a darkening economic time. As

 has been widely reported, “[m]any media and tech companies have laid off employees in recent

 weeks as the advertising market sours.”97 TEGNA, as a publicly traded company without a

 controlling shareholder, would be impacted more than most broadcasters by the intense pressure

 of the public markets to cut costs as recessionary concerns mount.

        While these harms are substantial and apparent, they defy easy quantification. What can

 be easily quantified, however, is one obvious aspect of the direct economic harm to TEGNA. As

 the Commission is aware, the Merger Agreement contains a “ticking fee” that each day escalates

 the price that must be paid to departing shareholders for each share of TEGNA stock. As a

 result, the purchase price of TEGNA has been increasing every day since November 22, 2022,

 and as of today, that increase now exceeds $22 million dollars.

        To put that in perspective, based on RTDNA’s most current survey of median salaries for

 television news jobs, 98 including journalists, that $22+ million dollars would be enough to pay a



 97
    Benjamin Mullin, The New York Times, Dec. 1, 2022, Gannet Starts Another Round of Staff
 Cuts, https://www.nytimes.com/2022/12/01/business/media/gannett-layoffs.html; see also Clair
 Atkinson, Business Insider, Jan. 9, 2023, Big Media Company Layoffs are Shrinking Traditional
 TV, https://www.businessinsider.com/big-media-company-lay-offs-are-shrinking-traditional-tv-
 sales-teams-2023-1 (“NBCUniversal’s latest round of layoffs shows how streaming is killing the
 traditional TV ad sales role.”); Oliver Darcy, CNN Business, Nov. 30, 2022, CNN begins layoffs
 amid economic uncertainty, cost-cutting pressures from parent company,
 https://www.cnn.com/2022/11/30/media/cnn-layoffs/index.html.
 98
    See Bob Papper & Keren Henderson, 2022 RTDNA/Newhouse School at Syracuse University
 Survey, TV News Salaries (2022).

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 year’s salary for over 420 additional news employees at TEGNA stations. That is nearly nine

 additional news employees per market. Equally dramatic is the impact of further delay. Each

 day of further delay would be enough to pay a year’s salary for an additional 7 news employees,

 and the ticking fee will shortly increase by 50%, magnifying this harm.

 VI.    Conclusion

        While approval of the Applications is irrefutably in the public interest, further delay is

 not. Applicants respectfully submit that the Commission has had ample time and public input to

 appreciate the incontrovertible merits of the Transactions, and it is time for the Commission to

 complete its review and grant the Applications consistent with the foregoing and the December

 Letters.

                                       Respectfully submitted,

                                       /s/ Scott R. Flick

                                       Scott R. Flick
                                       Jessica T. Nyman
                                       Pillsbury Winthrop Shaw Pittman LLP
                                       1200 Seventeenth Street, NW
                                       Washington, DC 20036
                                       scott.flick@pillsburylaw.com
                                       jessica.nyman@pillsburylaw.com
                                       Counsel for SGCI Holdings III LLC

                                       Jennifer A. Johnson
                                       Jocelyn Jezierny
                                       Covington & Burling LLP
                                       One CityCenter, 850 Tenth Street, NW
                                       Washington, DC 20001
                                       jjohnson@cov.com
                                       jjezierny@cov.com
                                       Counsel for TEGNA Inc.


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                            Michael D. Basile
                            Henry H. Wendel
                            Cooley LLP
                            1299 Pennsylvania Avenue, NW, Suite 700
                            Washington, DC 20004
                            mdbasile@cooley.com
                            hwendel@cooley.com
                            Counsel for CMG Media Corporation



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                                CERTIFICATE OF SERVICE

        I, Jessica Nyman, hereby certify that on January 20, 2023, copies of the foregoing

 Applicants’ Joint Reply Comments were sent by electronic mail to the following:

  David Brown                                     Cheryl Leanza
  Video Division, Media Bureau                    United Church of Christ Media Justice
  Federal Communications Commission               Ministry
  David.Brown@fcc.gov                             cleanza@alhmail.com

  Jeremy Miller                                   Yosef Gettachew
  Video Division, Media Bureau                    Jonathan Walter
  Federal Communications Commission
                                                  Common Cause
  Jeremy.Miller@fcc.gov
                                                  ygetachew@commoncause.org
                                                  jwalter@commoncause.org
  Chris Robbins
  Video Division, Media Bureau                    Michael Nilsson
  Federal Communications Commission               Harris Wiltshire & Grannis LLP
  Chris.Robbins@fcc.gov                           Counsel for ATVA
                                                  mnilsson@hwglaw.com
  Jim Bird
  Transaction Team, Office of General Counsel     Pantelis Michalopoulos
  Federal Communications Commission               Andrew Golodny
  Jim.Bird@fcc.gov                                Alicia Loh
                                                  Steptoe & Johnson LLP
                                                  Counsel for DISH Network Corporation
  Andrew J. Schwartzman                           pmichalopoulos@steptoe.com
  David Goodfriend                                agolodny@steptoe.com
  Counsel for the NewsGuild-CWA and               aloh@steptoe.com
  NABET-CWA
  AndySchwartzman@gmail.com                       Rick Chessen
  David@dcgoodfriend.com                          Mary Beth Murphy
                                                  Radhika Bhat
                                                  NCTA – The Internet & Television Association
                                                  rchessen@ncta.com
                                                  mbmurphy@ncta.com
                                                  rbhat@ncta.com

                                                  /s/ Jessica T. Nyman
